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TOGUT, SEGAL & SEGAL LLP
One Penn Plaza, Suite 3335
New York, New York 10119
(212) 594-5000
Frank A. Oswald
Kyle J. Ortiz
Jared C. Borriello

Counsel to the Debtors
and Debtors in Possession

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


In re:                                                   Chapter 11

JPA NO. 111 CO., LTD. and                                Case No.: 21-12075 (DSJ)
JPA NO. 49 CO., LTD.,
                                                         (Jointly Administered)

                            Debtors. 1


JPA NO. 111 CO., LTD. and
JPA NO. 49 CO., LTD.,

                            Plaintiffs,
                                                         Adv. Pro. No. 22-01004 (DSJ)
v.

FITZWALTER CAPITAL PARTNERS
(FINANCIAL TRADING) LIMITED,

                            Defendant.


 DECLARATION OF JARED C. BORRIELLO IN SUPPORT OF MOTION OF THE
DEBTORS FOR ENTRY OF AN ORDER (I) DETERMINING SECURED CLAIMS OF
     PREPETITION CREDIT FACILITIES OR (II) IN THE ALTERNATIVE,
 ESTIMATING AMOUNT OF CLAIMS ASSERTED BY FITZWALTER CAPITAL
    PARTNERS (FINANCIAL TRADING) LIMITED AND ITS AFFILIATES

         I, Jared C. Borriello, hereby declare under penalty of perjury, pursuant

to section 1746 of Title 28 of the United States Code, as follows:


1
     The Debtors in these Chapter 11 Cases are: JPA No. 111 Co., Ltd. and JPA No. 49 Co., Ltd. The Debtors’
     corporate address is Kasumigaseki Common Gate West Tower, 3-2-1 Kasumigaseki, Chiyoda-Ku, Tokyo 100-
     0013.
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         1.    I am an associate at the law firm of Togut, Segal & Segal LLP, counsel to

the debtors and debtors in possession (collectively, the “Debtors”) in the above-

captioned chapter 11 cases (the “Chapter 11 Cases”).

         2.    I respectfully submit this Declaration in support of the Motion of The

Debtors For Entry of An Order (I) Determining Secured Claims of Prepetition Credit Facilities

or (II) In the Alternative, Estimating Amount of Claims Asserted By Fitzwalter Capital

Partners (Financial Trading) Limited And Its Affiliates, filed contemporaneously herewith

(the “Motion”).

         3.    Attached hereto are true and correct copies of the following documents:

    Exhibit                               Description                             Date
     1            Parent Support Letter, MSN 067                                11/6/18

     2            Parent Support Letter, MSN 173                                12/2/17

     3            Intermediate Lessor Support Letter, MSN 067                   11/6/18

     4            Intermediate Lessor Support Letter, MSN 173                   12/22/17

     5            WSJ Notice                                                    12/14/21

     6            Quinn Emanuel Letter to Togut re Response to Request for      2/28/22
                  Accounting


         Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the

foregoing is true to the best of my knowledge.

Dated: New York, New York
       February 28, 2022




                                              /s/Jared C. Borriello
                                              One Penn Plaza, Suite 3335
                                              New York, New York 10119
                                              Telephone: (212) 594-5000




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                                                                                EXECUTION VERSION


                                            PARENT LETTER


                                                                                6 November 2018
                                                                           _________________

 To:      Crédit Agricole Corporate and Investment Bank (the "Security Agent")
          (as security agent for and on behalf of the Finance Parties)

 Dear Sirs

 This Letter (the "Letter") is issued to you by JP Lease Products & Services Co., Ltd. (the
 "Parent"), a Japanese corporation, in connection with the financing, acquisition and leasing of
 one (1) Airbus A350-900 aircraft bearing manufacturer's serial number 67 by JPA No. 111 Co.,
 Ltd. (the "Company"), a limited liability company (Kabushiki Kaisha) duly formed and
 incorporated under the laws of Japan, with its principal place of business at 3-2-1,
 Kasumigaseki, Chiyoda-ku, Tokyo 100-0013, Japan. The transaction will include, inter alia,
 an aircraft head lease deed between the Company as lessor and DAE Leasing (Ireland) 12
 Limited as lessee (the "Intermediate Lessor"), an aircraft operating lease agreement between
 the Intermediate Lessor as lessor and Vietnam Airlines JSC as lessee (the "Lessee"), a secured
 facility agreement (the "Senior Facility Agreement") between, inter alios, the Company as
 borrower, the Security Agent as senior agent, mandated lead arranger and security agent and
 the financial institutions named therein as senior lenders, a secured facility agreement (the
 "Junior Facility Agreement") between, inter alios, the Company as borrower, the Security
 Agent as junior agent, mandated lead arranger and security agent and the financial institutions
 named therein as junior lenders, a proceeds agreement between, inter alios, the Company as
 borrower, the Security Agent as junior agent and security agent, the Parent as borrower parent
 and the financial institutions named therein as lenders (the "Lenders" and together with the
 Security Agent, the Hedging Counterparty and the Account Bank, the "Beneficiaries") (the
 "Proceeds Agreement") and the other Transaction Documents (as defined in the Proceeds
 Agreement). The Parent is providing this Letter as an inducement for the Finance Parties to
 proceed with the transactions contemplated by the Transaction Documents and acknowledges
 that their willingness to proceed with such transactions is in express reliance on the contents of
 this Letter. When used herein, the terms defined in the Proceeds Agreement (whether expressly
 defined therein or by reference to another document or agreement) shall have the same
 respective meanings as defined therein.

 1.       In consideration of the foregoing, the Parent hereby agrees with the Security Agent
          (acting for and on behalf of the Lenders) that, unless and until the Company shall have
          performed and discharged in full its obligations to the Transaction Documents to which
          the Company is a party (the "Lessor Documents"):

          (a)          except with the prior written consent of the Security Agent, the Parent will
                       continue to control the Company and directly hold the legal and beneficial
                       ownership of the entire issued share capital in the Company;

          (b)          the Parent will ensure that the Company will be properly and diligently managed,
                       will remain solvent and will not be liquidated or dissolved or merged or
                       reorganised in any other manner;

          (c)          all claims of whatsoever nature which the Parent has or may at any time after
                       the date hereof have against or in connection with the Company shall rank after


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                       and be in all respects subordinate to all of the rights and claims of the
                       Beneficiaries;

          (d)          the Parent will ensure that the Company shall duly and punctually perform and
                       comply with its obligations, covenants and agreements under the Lessor
                       Documents pursuant to the terms and conditions thereof and contained therein
                       (including, without limitation, the personal liability of the Borrower pursuant to
                       and in accordance with clause 6.2 (Personal Liability) of the Senior Facility
                       Agreement) and clause 6.2 (Personal Liability) of the Junior Facility
                       Agreement); and

          (e)          the Parent will ensure that, without the prior written consent of the Security
                       Agent, the Company shall not undertake any business except as expressly
                       contemplated by the Lessor Documents or incidental to the transactions
                       contemplated thereby,

          provided that the Parent shall not be liable or responsible for any breach in respect of
          paragraph (b) above if such breach is caused solely and directly by any Lease Event of
          Default or an event which with the lapse of time or giving of notice could become a
          Lease Event of Default.

 2.       In further consideration of the Finance Parties entering into the Transaction Documents
          to which they are a party, we hereby undertake to you that, for so long as the Company
          shall have any undischarged obligations to the Finance Parties under the Lessor
          Documents, whether jointly or severally incurred: (1) we shall indemnify each of the
          Finance Parties and keep them indemnified against any and all costs, losses and
          expenses that they may suffer or incur (i) arising out of the Parent failing to perform its
          undertakings in this Letter; (ii) as a result of the Company's gross negligence or wilful
          misconduct and (iii) in connection with the Lessor Documents and/or the transactions
          contemplated thereby which are a result or consequence of the Company having
          engaged in any business prior to the date of the Proceeds Agreement or in respect of
          any liability, contingent or actual, that it may have incurred prior to such date; and
          (2) the Parent and the Company will each be managed in such a way that they do not,
          by reason of their own respective voluntary act or omission, breach any laws of Japan
          such that the interests of the Finance Parties under the Lessor Documents and/or the
          transactions contemplated thereby are, or are likely to be, adversely affected.

 3.       The Parent hereby represents and warrants that (i) the Company is wholly owned by
          the Parent, (ii) each of the representations and warranties on the part of the Company
          contained in the Lessor Documents are or will be true and correct in all respects as of
          the date hereof and (unless notified to you otherwise by the Parent in writing) as of the
          Closing Date, (iii) the Parent has power to enter into and perform the Parent's
          obligations under this Letter, (iv) the Parent has duly authorised the execution and
          performance of this Letter; and (v) this Letter constitutes the Parent's legal, valid and
          binding obligations enforceable in accordance with its terms.

 4.       This Letter constitutes the Parent's warranty of performance but not a guarantee,
          provided that the Parent will provide any funds necessary to the Company required to
          ensure compliance with paragraphs (a) through (d) of Clause 1 above, subject to the
          proviso set out in the last paragraph of Clause 1 of this Letter. The Parent's liability
          hereunder shall not be affected by (i) any amendments of or variations to the


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          Transaction Documents which may from time to time be agreed between the Company
          and the other parties to such documents, (ii) any indulgences or other concessions
          which may be granted to the Company in respect of its obligations under the
          Transaction Documents, (iii) any obligation of the Company owed to the Lessee
          ceasing to be enforceable for whatever reason, or (iv) any other dealings in relation to
          the Transaction Documents which might, but for this provision, affect or impair the
          Parent's liability hereunder.

 5.       This Letter shall be governed by and construed in accordance with the laws of Japan.




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                                                                           EXECUTION VERSION


                                       PARENT LETTER


                                                                           22 December 2017
                                                                     _________________

 To:      Crédit Agricole Corporate and Investment Bank (the "Security Agent")
          (as security agent for and on behalf of the Finance Parties)

 Dear Sirs

 This Letter (the "Letter") is issued to you by JP Lease Products & Services Co., Ltd. (the
 "Parent"), a Japanese corporation, in connection with the financing, acquisition and leasing
 of one (1) Airbus A350-941 aircraft bearing manufacturer's serial number 173 by JPA No. 49
 Co., Ltd. (the "Company"), a limited liability company (Kabushiki Kaisha) duly formed and
 incorporated under the laws of Japan, with its principal place of business at 3-2-1,
 Kasumigaseki, Chiyoda-ku, Tokyo 100-0013, Japan. The transaction will include, inter alia,
 an aircraft head lease deed between the Company as lessor and PAAL Uranus Company
 Limited as lessee (the "Intermediate Lessor"), an aircraft operating lease agreement between
 the Intermediate Lessor as lessor and Vietnam Airlines JSC as lessee (the "Lessee"), a
 secured facility agreement (the "Senior Facility Agreement") between the Company as
 borrower, the Security Agent as senior agent, mandated lead arranger and security agent and
 the financial institutions named therein as senior lenders, a secured facility agreement (the
 "Junior Facility Agreement") between the Company as borrower, the Security Agent as
 junior agent, mandated lead arranger and security agent and the financial institutions named
 therein as junior lenders, a proceeds agreement between, inter alios, the Company as
 borrower, the Security Agent as junior agent and security agent, the Parent as borrower parent
 and the financial institutions named therein as lenders (the "Lenders" and together with the
 Security Agent, the Hedging Counterparty and the Account Bank, the "Beneficiaries") (the
 "Proceeds Agreement") and the other Transaction Documents (as defined in the Proceeds
 Agreement). The Parent is providing this Letter as an inducement for the Finance Parties to
 proceed with the transactions contemplated by the Transaction Documents and acknowledges
 that their willingness to proceed with such transactions is in express reliance on the contents
 of this Letter. When used herein, the terms defined in the Proceeds Agreement (whether
 expressly defined therein or by reference to another document or agreement) shall have the
 same respective meanings as defined therein.

 1.       In consideration of the foregoing, the Parent hereby agrees with the Security Agent
          (acting for and on behalf of the Lenders) that, unless and until the Company shall
          have performed and discharged in full its obligations to the Transaction Documents to
          which the Company is a party (the "Lessor Documents"):

          (a)      except with the prior written consent of the Security Agent, the Parent will
                   continue to control the Company and directly hold the legal and beneficial
                   ownership of the entire issued share capital in the Company;

          (b)      the Parent will ensure that the Company will be properly and diligently
                   managed, will remain solvent and will not be liquidated or dissolved or
                   merged or reorganised in any other manner;

          (c)      all claims of whatsoever nature which the Parent has or may at any time after
                   the date hereof have against or in connection with the Company shall rank


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                   after and be in all respects subordinate to all of the rights and claims of the
                   Beneficiaries;

          (d)      the Parent will ensure that the Company shall duly and punctually perform and
                   comply with its obligations, covenants and agreements under the Lessor
                   Documents pursuant to the terms and conditions thereof and contained therein
                   (including, without limitation, the personal liability of the Borrower pursuant
                   to and in accordance with clause 6.2 (Personal Liability) of the Senior Facility
                   Agreement) and clause 6.2 (Personal Liability) of the Junior Facility
                   Agreement); and

          (e)      the Parent will ensure that, without the prior written consent of the Security
                   Agent, the Company shall not undertake any business except as expressly
                   contemplated by the Lessor Documents or incidental to the transactions
                   contemplated thereby,

          provided that the Parent shall not be liable or responsible for any breach in respect of
          paragraph (b) above if such breach is caused solely and directly by any Lease Event
          of Default or an event which with the lapse of time or giving of notice could become a
          Lease Event of Default.

 2.       In further consideration of the Finance Parties entering into the Transaction
          Documents to which they are a party, we hereby undertake to you that, for so long as
          the Company shall have any undischarged obligations to the Finance Parties under the
          Lessor Documents, whether jointly or severally incurred: (1) we shall indemnify each
          of the Finance Parties and keep them indemnified against any and all costs, losses and
          expenses that they may suffer or incur (i) arising out of the Parent failing to perform
          its undertakings in this Letter; (ii) as a result of the Company's gross negligence or
          wilful misconduct and (iii) in connection with the Lessor Documents and/or the
          transactions contemplated thereby which are a result or consequence of the Company
          having engaged in any business prior to the date of the Proceeds Agreement or in
          respect of any liability, contingent or actual, that it may have incurred prior to such
          date; and (2) the Parent and the Company will each be managed in such a way that
          they do not, by reason of their own respective voluntary act or omission, breach any
          laws of Japan such that the interests of the Finance Parties under the Lessor
          Documents and/or the transactions contemplated thereby are, or are likely to be,
          adversely affected.

 3.       The Parent hereby represents and warrants that (i) the Company is wholly owned by
          the Parent, (ii) each of the representations and warranties on the part of the Company
          contained in the Lessor Documents are or will be true and correct in all respects as of
          the date hereof and (unless notified to you otherwise by the Parent in writing) as of
          the Closing Date, (iii) the Parent has power to enter into and perform the Parent's
          obligations under this Letter, (iv) the Parent has duly authorised the execution and
          performance of this Letter; and (v) this Letter constitutes the Parent's legal, valid and
          binding obligations enforceable in accordance with its terms.

 4.       This Letter constitutes the Parent's warranty of performance but not a guarantee,
          provided that the Parent will provide any funds necessary to the Company required
          to ensure compliance with paragraphs (a) through (d) of Clause 1 above, subject to the
          proviso set out in the last paragraph of Clause 1 of this Letter. The Parent's liability


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          hereunder shall not be affected by (i) any amendments of or variations to the
          Transaction Documents which may from time to time be agreed between the
          Company and the other parties to such documents, (ii) any indulgences or other
          concessions which may be granted to the Company in respect of its obligations under
          the Transaction Documents, (iii) any obligation of the Company owed to the Lessee
          ceasing to be enforceable for whatever reason, or (iv) any other dealings in relation to
          the Transaction Documents which might, but for this provision, affect or impair the
          Parent's liability hereunder.

 5.       This Letter shall be governed by and construed in accordance with the laws of Japan.




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                                                                                EXECUTION VERSION


                                            PARENT LETTER


                                                                               6 November
                                                                           _________________ 2018

 To:      Crédit Agricole Corporate and Investment Bank (the "Security Agent")
          (as security agent for and on behalf of the Lenders)

 Dear Sirs

 This Letter (the "Letter") is issued to you by JLPS Holding Ireland Limited (the "Parent"), a
 company incorporated and existing under the laws of Ireland and having its registered offices
 at 29 Main Street, Cashel, Co. Tipperary, in connection with the financing, acquisition and
 leasing of one (1) Airbus A350-900 aircraft bearing manufacturer's serial number 67 by JPA
 No. 111 Co., Ltd. (the "Borrower"), a limited liability company (Kabushiki Kaisha) duly
 formed and incorporated under the laws of Japan, with its principal place of business at 3-2-1,
 Kasumigaseki, Chiyoda-ku, Tokyo 100-0013, Japan. The transaction will include, inter alia,
 an aircraft head lease deed between the Borrower as lessor and DAE Leasing (Ireland) 12
 Limited (the "Company") as lessee, an aircraft operating lease agreement between the
 Company as lessor and Vietnam Airlines JSC as lessee (the "Lessee"), a secured facility
 agreement (the "Senior Facility Agreement") between, inter alios, the Borrower as borrower,
 the Security Agent as senior agent, mandated lead arranger and security agent and the financial
 institutions named therein as senior lenders, a secured facility agreement (the "Junior Facility
 Agreement") between, inter alios, the Borrower as borrower, the Security Agent as junior
 agent, mandated lead arranger and security agent and the financial institutions named therein
 as junior lenders, a proceeds agreement between, inter alios, the Borrower as borrower, the
 Company as intermediate lessor, the Security Agent as senior agent, junior agent and security
 agent, the Parent as borrower parent and the financial institutions named therein as lenders (the
 "Lenders" and together with the Security Agent, the Hedging Counterparty and the Account
 Bank, the "Beneficiaries") (the "Proceeds Agreement") and the other Transaction Documents
 (as defined in the Proceeds Agreement). The Parent is providing this Letter as an inducement
 for the Finance Parties to proceed with the transactions contemplated by the Transaction
 Documents and acknowledges that their willingness to proceed with such transactions is in
 express reliance on the contents of this Letter. When used herein, the terms defined in the
 Proceeds Agreement (whether expressly defined therein or by reference to another document
 or agreement) shall have the same respective meanings as defined therein.

 1.       In consideration of the foregoing, the Parent hereby agrees with the Security Agent
          (acting for and on behalf of the Lenders) that, unless and until the Company shall have
          performed and discharged in full its obligations to the Transaction Documents to which
          the Company is a party (the "Intermediate Lessor Documents"):

          (a)          except with the prior written consent of the Security Agent, the Parent will
                       continue to control the Company and directly hold the legal and beneficial
                       ownership of the entire issued share capital in the Company;

          (b)          the Parent will ensure that the Company will be properly and diligently managed,
                       will remain solvent and will not be liquidated or dissolved or merged or
                       reorganised in any other manner;




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          (c)          all claims of whatsoever nature which the Parent has or may at any time after
                       the date hereof have against or in connection with the Company shall rank after
                       and be in all respects subordinate to all of the rights and claims of the
                       Beneficiaries;

          (d)          the Parent will ensure that the Company shall duly and punctually perform and
                       comply with its obligations, covenants and agreements under the Intermediate
                       Lessor Documents pursuant to the terms and conditions thereof and contained
                       therein (including, without limitation, the personal liability of the Company
                       pursuant to and in accordance with sub-clause 22.2.2 of the Proceeds
                       Agreement); and

          (e)          the Parent will ensure that, without the prior written consent of the Security
                       Agent, the Company shall not undertake any business except as expressly
                       contemplated by the Intermediate Lessor Documents or incidental to the
                       transactions contemplated thereby,

          provided that the Parent shall not be liable or responsible for any breach in respect of
          paragraph (b) above if such breach is caused solely and directly by any Lease Event of
          Default or an event which with the lapse of time or giving of notice could become a
          Lease Event of Default.

 2.       In further consideration of the Finance Parties entering into the Transaction Documents
          to which they are a party, we hereby undertake to you that, for so long as the Company
          shall have any undischarged obligations to the Finance Parties under the Intermediate
          Lessor Documents, whether jointly or severally incurred: (1) we shall indemnify each
          of the Finance Parties and keep them indemnified against any and all costs, losses and
          expenses that they may suffer or incur (i) arising out of the Parent failing to perform its
          undertakings in this Letter; (ii) as a result of the Company's gross negligence or wilful
          misconduct and (iii) in connection with the Intermediate Lessor Documents and/or the
          transactions contemplated thereby which are a result or consequence of the Company
          having engaged in any business prior to the date of the Proceeds Agreement or in
          respect of any liability, contingent or actual, that it may have incurred prior to such date;
          and (2) the Parent and the Company will each be managed in such a way that they do
          not, by reason of their own respective voluntary act or omission, breach any laws of
          Ireland such that the interests of the Finance Parties under the Intermediate Lessor
          Documents and/or the transactions contemplated thereby are, or are likely to be,
          adversely affected.

 3.       The Parent hereby represents and warrants that (i) the Company is wholly owned by
          the Parent, (ii) each of the representations and warranties on the part of the Company
          contained in the Intermediate Lessor Documents are or will be true and correct in all
          respects as of the date hereof and (unless notified to you otherwise by the Parent in
          writing) as of the Closing Date, (iii) the Parent has power to enter into and perform the
          Parent's obligations under this Letter, (iv) the Parent has duly authorised the execution
          and performance of this Letter; and (v) this Letter constitutes the Parent's legal, valid
          and binding obligations enforceable in accordance with its terms.

 4.       This Letter constitutes the Parent's warranty of performance but not a guarantee,
          provided that the Parent will provide any funds necessary to the Company required to
          ensure compliance with paragraphs (a) through (d) of Clause 1 above, subject to the


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          proviso set out in the last paragraph of Clause 1 of this Letter. The Parent's liability
          hereunder shall not be affected by (i) any amendments of or variations to the
          Transaction Documents which may from time to time be agreed between the Company
          and the other parties to such documents, (ii) any indulgences or other concessions
          which may be granted to the Company in respect of its obligations under the
          Transaction Documents, (iii) any obligation of the Company owed to the Lessee
          ceasing to be enforceable for whatever reason, or (iv) any other dealings in relation to
          the Transaction Documents which might, but for this provision, affect or impair the
          Parent's liability hereunder.

 5.       This Letter shall be governed by and construed in accordance with the laws of Ireland.




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   Signed by:

   JLPS HOLDING
                            {RELAND LIMITED

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                                   EXHIBIT 4
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                                                                          EXECUTION VERSION


                                        PARENT LETTER


                                                                          22 December 2017
                                                                      _________________

 To:      Crédit Agricole Corporate and Investment Bank (the "Security Agent")
          (as security agent for and on behalf of the Lenders)

 Dear Sirs

 This Letter (the "Letter") is issued to you by JLPS Holding Ireland Limited (the "Parent"), a
 a company incorporated and existing under the laws of Ireland and having its registered
 offices at 29 Main Street, Cashel, Co. Tipperary, in connection with the financing, acquisition
 and leasing of one (1) Airbus A350-941 aircraft bearing manufacturer's serial number 173 by
 JPA No. 49 Co., Ltd. (the "Borrower"), a limited liability company (Kabushiki Kaisha) duly
 formed and incorporated under the laws of Japan, with its principal place of business at 3-2-1,
 Kasumigaseki, Chiyoda-ku, Tokyo 100-0013, Japan. The transaction will include, inter alia,
 an aircraft head lease deed between the Borrower as lessor and PAAL Uranus Company
 Limited (the "Company") as lessee, an aircraft operating lease agreement between the
 Company as lessor and Vietnam Airlines JSC as lessee (the "Lessee"), a secured facility
 agreement (the "Senior Facility Agreement") between the Borrower as borrower, the
 Security Agent as senior agent, mandated lead arranger and security agent and the financial
 institutions named therein as senior lenders, a secured facility agreement (the "Junior
 Facility Agreement") between the Borrower as borrower, the Security Agent as junior agent,
 mandated lead arranger and security agent and the financial institutions named therein as
 junior lenders, a proceeds agreement between, inter alios, the Borrower as borrower, the
 Company as intermediate lessor, the Security Agent as senior agent, junior agent and security
 agent, the Parent as borrower parent and the financial institutions named therein as lenders
 (the "Lenders" and together with the Security Agent, the Hedging Counterparty and the
 Account Bank, the "Beneficiaries") (the "Proceeds Agreement") and the other Transaction
 Documents (as defined in the Proceeds Agreement). The Parent is providing this Letter as an
 inducement for the Finance Parties to proceed with the transactions contemplated by the
 Transaction Documents and acknowledges that their willingness to proceed with such
 transactions is in express reliance on the contents of this Letter. When used herein, the terms
 defined in the Proceeds Agreement (whether expressly defined therein or by reference to
 another document or agreement) shall have the same respective meanings as defined therein.

 1.       In consideration of the foregoing, the Parent hereby agrees with the Security Agent
          (acting for and on behalf of the Lenders) that, unless and until the Company shall
          have performed and discharged in full its obligations to the Transaction Documents to
          which the Company is a party (the "Intermediate Lessor Documents"):

          (a)       except with the prior written consent of the Security Agent, the Parent will
                    continue to control the Company and directly hold the legal and beneficial
                    ownership of the entire issued share capital in the Company;

          (b)       the Parent will ensure that the Company will be properly and diligently
                    managed, will remain solvent and will not be liquidated or dissolved or
                    merged or reorganised in any other manner;




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          (c)       all claims of whatsoever nature which the Parent has or may at any time after
                    the date hereof have against or in connection with the Company shall rank
                    after and be in all respects subordinate to all of the rights and claims of the
                    Beneficiaries;

          (d)       the Parent will ensure that the Company shall duly and punctually perform and
                    comply with its obligations, covenants and agreements under the Intermediate
                    Lessor Documents pursuant to the terms and conditions thereof and contained
                    therein (including, without limitation, the personal liability of the Company
                    pursuant to and in accordance with sub-clause 22.2.2 of the Proceeds
                    Agreement); and

          (e)       the Parent will ensure that, without the prior written consent of the Security
                    Agent, the Company shall not undertake any business except as expressly
                    contemplated by the Intermediate Lessor Documents or incidental to the
                    transactions contemplated thereby,

          provided that the Parent shall not be liable or responsible for any breach in respect of
          paragraph (b) above if such breach is caused solely and directly by any Lease Event
          of Default or an event which with the lapse of time or giving of notice could become a
          Lease Event of Default.

 2.       In further consideration of the Finance Parties entering into the Transaction
          Documents to which they are a party, we hereby undertake to you that, for so long as
          the Company shall have any undischarged obligations to the Finance Parties under the
          Intermediate Lessor Documents, whether jointly or severally incurred: (1) we shall
          indemnify each of the Finance Parties and keep them indemnified against any and all
          costs, losses and expenses that they may suffer or incur (i) arising out of the Parent
          failing to perform its undertakings in this Letter; (ii) as a result of the Company's
          gross negligence or wilful misconduct and (iii) in connection with the Intermediate
          Lessor Documents and/or the transactions contemplated thereby which are a result or
          consequence of the Company having engaged in any business prior to the date of the
          Proceeds Agreement or in respect of any liability, contingent or actual, that it may
          have incurred prior to such date; and (2) the Parent and the Company will each be
          managed in such a way that they do not, by reason of their own respective voluntary
          act or omission, breach any laws of Ireland such that the interests of the Finance
          Parties under the Intermediate Lessor Documents and/or the transactions
          contemplated thereby are, or are likely to be, adversely affected.

 3.       The Parent hereby represents and warrants that (i) the Company is wholly owned by
          the Parent, (ii) each of the representations and warranties on the part of the Company
          contained in the Intermediate Lessor Documents are or will be true and correct in all
          respects as of the date hereof and (unless notified to you otherwise by the Parent in
          writing) as of the Closing Date, (iii) the Parent has power to enter into and perform
          the Parent's obligations under this Letter, (iv) the Parent has duly authorised the
          execution and performance of this Letter; and (v) this Letter constitutes the Parent's
          legal, valid and binding obligations enforceable in accordance with its terms.

 4.       This Letter constitutes the Parent's warranty of performance but not a guarantee,
          provided that the Parent will provide any funds necessary to the Company required
          to ensure compliance with paragraphs (a) through (d) of Clause 1 above, subject to the


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          proviso set out in the last paragraph of Clause 1 of this Letter. The Parent's liability
          hereunder shall not be affected by (i) any amendments of or variations to the
          Transaction Documents which may from time to time be agreed between the
          Company and the other parties to such documents, (ii) any indulgences or other
          concessions which may be granted to the Company in respect of its obligations under
          the Transaction Documents, (iii) any obligation of the Company owed to the Lessee
          ceasing to be enforceable for whatever reason, or (iv) any other dealings in relation to
          the Transaction Documents which might, but for this provision, affect or impair the
          Parent's liability hereunder.

 5.       This Letter shall be governed by and construed in accordance with the laws of Ireland.




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   Signedby:

  ALPSHOLDING IRELAND LIMITED



  NiallMcnamara
  Director




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                                   EXHIBIT 5
B6 | Tuesday, December 14, 2021                                                                                                                                                                                                                                                                                                    THE WALL STREET JOURNAL.
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                                                                                                                                                  BIGGEST 1,000 STOCKS
                                                                                                                                                                Net                                        Net                                          Net                                         Net                                                Net                                         Net
    How to Read the Stock Tables                                                                                                       Stock          Sym Close Chg               Stock          Sym Close Chg                  Stock          Sym dose Chg              Stock            Sym Close Chg                    Stock             Sym Close Chg                Stock          Sym Close Chg
                                                                      Footnotes:
    The following explanations apply to NYSE, NYSE                    1-New 52-week high.                                            dLocal          DLO 34.46 0.39              GlobeLife         GL     91.29 -0.63      l Lennar A           LEN        -3.76
                                                                                                                                                                                                                                                       113.15      Nutrien       NTR 69.36 -0.96      Ryanair         RYAAY 97.17                           -3.24 TorontoDomBkTD           74.11 -0.84
    Area, NYSE American and Nasdaq Stock Market                       I-New 52-week low.                                             DocuSign        DOCU 139.77 -4.71           GoDaddy           GDDY 72.55 1.15           Lennar B          LEN.B    91.67
                                                                                                                                                                                                                                                           -2.37   Nuvei______ NVEI 58.32 -1.29       SAP             SAP 137.95                             2.56 TotalEnergies TTE 49.32 -0.75
    listed securities. Prices are composite quotations                dd-lndicates loss in the most recent four                      DolbyLab        DLB 88.78 0.08              GoldFields        GFI     9.84 0.05         Lennoxlntl        Ul      331.30
                                                                                                                                                                                                                                                           -0.44                  NVDA 281.61-20.37 1 S&P Global      SPGI 478.86                            5.19 ToyotaMotor TM 176.12 -6.23
    that include primary market trades as well as                     quarters.                                                      DollarGeneral DG 226.00 3.60                GoldmanSachs GS         384.64 -6.42        LeviStrauss LEVI           24.54
                                                                                                                                                                                                                                                           -0.73                                      SBA Comm SBAC 365.02                                   6.09 1 TractorSupply TSCO 233.16 -1.15
    trades reported by Nasdaq BX (formerly Boston),                   FD-First day of trading.                                       DollarTree      DLTR 140.88 -0.67           GoodRx            GDRX 39.17 -0.76          LiAuto            LI       31.36
                                                                                                                                                                                                                                                           -1.10                  [•fX7               SK Telecom SKM 44.73                                   0.31 TradeDesk          TTD 92.50 -1.56
    Chicago Stock Exchange, Cboe, NYSE National and                   h-Does not meet continued listing                              DominionEner D        76.75 0.79        1   Grab               GRAB1 7.17 0.05          LibertyBroadbandC LBRDK   148.48
                                                                                                                                                                                                                                                           -0.80                                      SS&C Tech       SSNC 78.16                             0.06 Tradeweb           TW    95.50 0.23
    Nasdaq ISE.                                                       standards                                                      Domino's        DPZ 537.36 2.94         1   Graco             GGG 79.95 0.01            LibertyBroadbandA LBRDA       -0.12 ONEOK
                                                                                                                                                                                                                                                       147.21                     OKE                 StoreCapital STOR 34.19                                0.40 TraneTech          TT   202.24 -0.45
    The list comprises the 1,000 largest companies                    If-Late filing                                                 DoorDash        DASH 155.25 -2.75           Grainger          GWW 506.85 -6.82          LibertyGlobal CLBTYK          -0.10 i OReillyAuto ORLY 671.76 ■10.61 SVB Fin
                                                                                                                                                                                                                                                        27.87                                                         SIVB 675.60                           28.32 TransDigm          TDG 591.90 -13.41
    based on market capitalization.                                   q-Temporary exemption from Nasdaq                              Dover           DOV 171.75 0.39             Grifols           GRFS 10.21 -0.21          LibertyGlobal A LBTYA          0.03 OccidentalPetrol OXY 29.23 -1.54 Saia
                                                                                                                                                                                                                                                        27.91                                                         SAIA 325.99                           -2.72 TransUnion         TRU 116.40 -0.02
    Underlined quotations are those stocks with                       requirements.                                                  Dow             DOW 53.32 -1.36             GuardantHealth GH        94.16 0.34         LibertyFormOne C FW0NK        -0.29 Okta
                                                                                                                                                                                                                                                        60.23                     OKTA 221.91 -1.75 Salesforce.com CRM 265.76                               -0.27 Travelers          TRV 153.18 -1.07
    large changes in volume compared with the                         t-NYSE bankruptcy                                              Doximity        DOCS 55.68 1.74             Guidewire         GWRE 113.87 -0.19         LibertyFormOne A FW0NA        -0.01 Olaplex
                                                                                                                                                                                                                                                        56.45                     OLPX 26.15 -1.42 Sanofi             SNY 48.77                             -0.30 Trex               TREX 137.11 -3.57
    issue's average trading volume.                                   v-Trading halted on primary market.                            DrReddv'sLab RDY 60.63 0.19                 HCA Healthcare HCA 244.10 1.03              LibertyBraves A BATRA         -0.42 OldDomFreight ODFL 358.92 2.63 1 SantanderCons SC
                                                                                                                                                                                                                                                        27.89                                                               41.73                                   Trimble          TRMB 86.07 -0.02
                                                                                                                                                                                                                                                                                                                                                            -0.66
    Boldfaced quotations highlight those issues                       vj-ln bankruptcy or receivership or being                                                                                                                                            -0.41 Olin             OLN 53.94 -3.75 Sasol
                                                                                                                                     DraftKings      DKNG 28.85 -1.56        1   HDFC Bank HDB 65.10 -0.24                   LibertyBraves C BATRK      27.55                                                         SSL   17.09                           -0.71 Trip.com           TCOM 25.08 -0.93
    whose price changed by 5% or more if their                        reorganized under the Bankruptcy Code,                         Dropbox         DBX 24.19 0.23              HP                HPQ 35.28 -1.15           LibertySirius B LSXMB         -1.89 Omnicom
                                                                                                                                                                                                                                                        48.11                     OMC 71.25 0.34 Schlumberger SLB 29.83                                     -1.16 TruistFinl         TFC   58.00 -1.39
    previous closing price was $2 or higher.                          or securities assumed by such companies.                       DukeEnergy DUK 103.04 1.53                  HSBC              HSBC 28.41 -0.68          LibertySirius A LSXMA         -0.70 OnHolding
                                                                                                                                                                                                                                                        47.84                     ONON 36.02 -2.26 SchwabC            SCHW 79.38                            -1.43 Twilio             TWLO 260.23 -4.31
                                                                                                                                 1   DukeRealty DRE 62.78 1.19                   Halliburton HAL 22.71 -1.22                 LibertySirius C LSXMK         -0.63 ON Semi
                                                                                                                                                                                                                                                        47.66                     ON    62.58 -2.68 Sea               SE   231.04                           -6.90 Twitter            TWTR 44.60 -0.96
              Wall Street Journal stock tables reflect composite regular trading as of 4 p.m. and                                    DuPont          DD    77.63 -2.41           HartfordFinl HIG         67.24 -0.91      l LifeStorage LSI                2.75 OpenText
                                                                                                                                                                                                                                                       142.81                     OTEX 46.85 -0.87 Seagate            STX 101.68                            -2.23 TylerTech          TYL 515.01 -0.07
                          changes in the closing prices from 4 p.m. the previous day.                                                Dynatrace       DT    60.16 -1.59           Hasbro            HAS 100.58 -0.24          EliLilly          LLY     248.53
                                                                                                                                                                                                                                                            4.39   OpendoorTech   OPEN  14.62 -0.36 Seagen            SGEN 144.17                            1.60 TysonFoods TSN 84.93 0.82
                                                                                                                                     ENI             E     27.13 -0.70           HashiCorp         HCP 85.99 0.29            LincoinNational LNC        65.15
                                                                                                                                                                                                                                                           -2.32   Oracle         ORCL 100.89 -1.74 SealedAir         SEE 65.18                              0.08   UBS Group        UBS 17.77 -0.13
                                                                                                                                     FOG Rscs        EOG 88.03 -1.65             HealthpeakProp PEAK 34.42 0.63              Linde             LIN          0.19 Orange
                                                                                                                                                                                                                                                       334.19                     ORAN 10.21 0.17 Sempra              SRE 126.29                            -0.50 l UDR              UDR 59.35 0.97
     Monday, December 13, 2021                                          Net
                                                                                                                                     EPAM Systems EPAM 685.00 ■■12.12            Heico             HEI 142.42 -2.26          LithiaMotors LAD              -5.95 Orix
                                                                                                                                                                                                                                                       282.72                     IX    99.78 -0.04 SensataTechs ST         59.36                           -0.46   UGI              UGI   45.34 -0.39
                                                Stock         Sym Close Chg               Stock
                              Net                                                                                                    EastWestBncp EWBC 75.69 -2.10               Heico A           HEI.A 127.56 -1.54        LiveNationEnt LYV             -3.27 OtisWorldwide OTIS 85.38 -0.70 SentinelOne S
                                                                                                                                                                                                                                                       108.60                                                               47.16                           -3.14   UWM              UWN1C 6.68 -0.30
     Stock          Sym Close dig                                                                                                1   EastGroup       EGP 217.74 3.70             HenrySchein HSIC 75.16 -0.52                LloydsBanking LYG             -0.12 Ovintiv
                                                                                                                                                                                                                                                         2.30                     OVV 32.75 -1.89 ServiceCorp SCI           68.44                            0.39 I Uber             UBER 35.73 -0.94
                                               Avalara         AVLR 142.94 -0.81         Catalent         CTLT 124.88
                                                                                                                                     EastmanChem EMN 114.80 -2.50            1   Hershey           HSY 188.65 2.14           Lockheed Martin LMT            0.67 OwensCorning OC
                                                                                                                                                                                                                                                       345.55                           91.20 -1.45 ServiceNow NOW 655.94                                    8.94   Ubiquiti          Ul  293.83 1.10
              ABC                          l   Avalonbay       AVB 248.07 3.20           Caterpillar      CAT 201.25                                                                                                                                               PG&E           PCG 12.27 -0.08 ShawComm BSJR                                                     UiPath           PATH 43.50 -0.55
                                                                                                                                     Eaton           ETN 169.70 -0.76            HertzGIobal HTZ 23.90 -1.02                 Loews             L        56.77
                                                                                                                                                                                                                                                           -0.33                                                            29.13                           -0.39
                                               Avangrid        AGR 48.29 0.08            Celanese         CE   158.07
                                                                                                                                     eBay            EBAY 66.69 -0.20            Hess              HES 77.06 -2.10           Logitechlntl LOGI              0.54 PNC Fin
                                                                                                                                                                                                                                                        81.83                     PNC 196.21 -5.35 1 SherwinWilliams SHW 346.00                             -0.46   UltaBeauty       ULTA 388.29 -15.20
    ABB             ABB 36.69 -0.04            Avantor         AVTR 39.19 -0.16          Cemex          cx       5.98
                                                                                                                                     Ecolab          ECL 231.44 -0.06            HewlettPackard HPE 14.79 -0.42            l Lowe's            LOW         -4.14 POSCO
                                                                                                                                                                                                                                                       257.24                     PKX 60.18 0.11 ShinhanFin           SHG 30.79                             -0.63   UnderArmour C UA       19.25 -0.81
                                               AveryDennison AVY 210.63 -2.00            CenovusEnergy CVE 11.91                                                                                                                                                                  PPG 162.81 -0.56 Shopify
    AECOM           ACM 73.46 0.44                                                                                                   Ecopetrol       EC     13.50 -0.46          HiqhwoodsProp HIW 43.90 -0.38               LufaxHolding LU               -0.19 PPG Ind
                                                                                                                                                                                                                                                         6.14                                                         SHOP 1397.15                         ■64.43   UnderArmour A UAA 22.60 -1.01
                                               AvisBudget CAR 234.71 -9.27               Centene          CNC 78.15                                                                                                                                                PPL            PPL 28.88 0.15 Sibanye-Stillwater SBSW 12.08                                      Unilever         UL    53.09 -0.16
    AES             AES 23.92 -0.50                                                                                                  Edisonlnt       EIX   66.88 -0.18           Hilton            HLT 142.41 -3.72          lululemon         LULU    403.75
                                                                                                                                                                                                                                                           -5.83                                                                                            -0.02
                                               AxonEnterprise AXON 138.89 -2.56      l   CenterPointEner CNP 28.00                                                                                                                                                 PTC            PTC 122.52 1.95 SignatureBankSBNY 295.58                                          UnionPacific UNP 245.74 -2.72
    Aflac           AFL   57.02 -0.82                                                                                                EdwardsLife EW 120.74 -1.10                 Hologic           HOLX 75.39 0.64           LumenTech         LUMN     11.96
                                                                                                                                                                                                                                                           -0.17                                                                                            -9.37
                                               BCE              BCE 51.32 -0.38          CentraisEIBras EBR      6.42                                                                                                                                              Paccar         PCAR 88.35 -0.79 SimonProperty SPG 151.10
    AGCO            AGCO 115.04 -2.17                                                                                                ElancoAnimal ELAN 27.74 -0.23               HomeDepot HD 405.24 ■■10.16               I Lyft              LYFT     38.41
                                                                                                                                                                                                                                                           -1.10                                                                                            -1.32   UnitedAirlines   UAL   41.74  -2.31
                                               BHP Group       BHP 57.63 0.43            CeridianHCM CDAY 103.07                                                                                                                                                   PackagingCpAm PKG 130.52 2.35 SiriusXM                                                           UnitedMicro UMC 11.01 -0.32
    AMC Ent         AMC 23.24 -4.20                                                                                                  Elastic         ESTC 116.85 -0.21           HondaMotor HMC 27.77 -0.70                  LyondellBasell LYB            -2.26
                                                                                                                                                                                                                                                        87.65                                                         SIRI    6.29                           0.01
                                               BHP Group       BBL   56.91 0.29          Cerner           CERN 76.71                                                                                                                                               PagSeguroDig PAGS 27.36 -0.68 SiteOneLandscape SITE 234.79                                       UPS   B          UPS  206.31
    Ansys           ANSS 404.60 6.15                                                                                                 ElectronicArts EA    126.77 1.13            Honeywell         HON 209.23 -0.58                                                                                                                                         -1.75                                 -2.80
                                               BJ'sWholesaleBJ       66.55 -0.86         CharlesRiverLabs CRL 361.03                                                                                                                     M N                       PalantirTech PLTR 18.40 -0.54 Skyworks                                                           UnitedRentals URI 338.26 -9.55
    APA             APA 25.28 -1.39                                                                                                  EmersonElec EMR 92.33 -0.26                 HorizonTherap HZNP 102.96 2.36                                                                                                       SWKS 159.51                           -2.97
                                               BP              BP    26.59 -0.82         CharterComms CHTR 605.55                                                                                                                                                  PaloAltoNtwks PANW 534.92 3.07 Smartsheet SMAR 72.39                                             US   Bancorp     USB   56.82
    ASETech         ASX     7.22 -0.23                                                                                               Enbridge        ENB 37.55 -0.24             HormelFoods HRL 47.28 1.28                                                                                                                                                  1.40                                 -0.95
                                               Baidu           BIDU 144.55 -4.79         Checkpoint       CHKP 112.05                                                                                                        M&T Bank        MTB 147.63 -4.58      ParkerHannifin PH 314.10 -4.83 1 SmithAO                                                         UnitedTherap UTHR 191.21 2.64
    ASML            ASML 764.47 17.37                                                                                                Endeavor        EDR 30.00 -0.10         1   DR Horton         DHI 108.02 -1.63                                                                                                   AOS 83.54                             -0.09
                                               BakerHughes BKR 24.56 -0.88               CheniereEnergy LNG 102.35                                                                                                           MGM Resorts MGM 40.34 -1.07           Paychex        PAYX 124.40 0.15 I Smith&NephewSNN 32.04                                        1 UnitedHealth     UNH  478.14
    AT&T            T     22.44 -0.40                                                                                                EnelAmericas ENIA       5.95 -0.14          HostHotels        HST 16.19 -0.44                                                                                                                                          -0.55                                 -0.09
                                               Ball            BLL   93.66 0.16          CheniereEnerPtrs CQP 38.89                                                                                                          MKS Instrum MKSI 157.15 -4.22         PaycomSoftware PAYC 415.46 -4.26 Smucker
1   AbbottLabs ABT 135.96 1.59
                                               BancoBilbaoViz BBVA 5.68 -0.10
                                                                                                                                     EnergyTransfer ET       8.23 -0.25          HowmetAerospace HWM 30.08 -0.78
                                                                                                                                                                                                                             MPLX            MPLX 28.26 -0.73
                                                                                                                                                                                                                                                                                                                      SJM 134.62                             1.74 UnitySoftware U         139.75 0.28
                                                                                         Chevron          CVX 115.88                                                                                                                                               Paylocity      PCTY 237.91 -0.18                                                                 UniversalHealthB UHS  128.80   0.40
1   AbbVie          ABBV 126.51 1.04                                                                                                 EnphaseEnergy ENPH 213.52 -1.50             HuanengPower HNP 22.50 0.21                                                                                          Snap            SNAP 48.14                            -2.68
                                               BancoBradesco BBDO 3.00 -0.04             Chewy            CHWY 55.26                                                                                                         MSCI            MSCI 621.76 -6.38     PayPal         PYPL 186.38 -2.13
    Abiomed         ABMD 312.39 6.36
                                               BancodeChile BCH 17.25 -0.88
                                                                                                                                     Entegris        ENTG 142.28 -4.61       1   Huazhu            HTHT 36.25 -4.06
                                                                                                                                                                                                                             MagellanMid MMP 45.16 -0.34 Pegasystems PEGA 115.87 2.47                 SnapOn          SNA 213.19                            -4.26 Upstart            UPST 151.06 ■9.69
                                                                                         China EastrnAir CEA 18.22                                                                                                                                                                                                                                                  VF               VFC   74.79  -1.19
1   Accenture       ACN 377.72 -1.72                                                                                                 Entergy         ETR 107.88 0.47             Hubbell           HUBB 210.05 1.77                                                                                   Snowflake       SNOW 353.91                          ■17.33
                                           t   BancSanBrasil BSBR 5.52 -0.14             ChinaLifelns LFC        8.38                                                                                                        Magnalntl       MGA 77.42 -2.42 Peloton               PTON 41.34 2.83
    ActivisionBliz ATVI 58.70 0.10                                                                                                   EnterpriseProd EPD 21.10 -0.31              HubSpot           HUBS 726.15 2.86                                                                                   SOQUIMICH       SQM 55.73                             -1.78 VICI Prop          via   28.20 -0.16
                                               BancoSantander SAN      2.96 -0.07        ChinaPetrol SNP 46.95                                                                                                               ManhattanAssoc MANH 151.71 1.96 PembinaPipelinePBA 29.39 -0.13                                                                         VailResorts MTN 328.37 -10.61
    Adobe           ADBE 658.30 3.85                                                                                             1   Equifax         EFX 297.05 1.93             Humana            HUM 464.37 3.18                                                                                    SoFiTech        SOFI 14.58                            -0.43
                                               BankofAmerica BAC 43.58 -0.94             ChinaSoAirlines ZNH 28.45                                                                                                           ManulifeFin MFC 18.48 -0.41 Pentair                  PNR 73.73 -1.49
    AdvanceAuto AAP 234.12 -5.92
                                               BankofMontreal BMO 107.88 -1.19           Chipotle         CMG 1690.93 -
                                                                                                                                     Equinix         EQIX 816.17 18.28       l   JBHunt            JBHT 200.80 2.24
                                                                                                                                                                                                                             MarathonOM MRO 15.39 -0.83
                                                                                                                                                                                                                                                                                                      SolarEdgeTech SEDG 303.67                             -5.42 Vale               VALE 13.76 0.24
                                                                                                                                                                                                                                                                   Penumbra        PEN 252.70 7.75
    AdvDrainageSys WMS 133.00 -0.70
                                               BankNY Mellon BK      56.13 -0.60
                                                                                                                                     Equinor         EQNR 25.75 -0.65            HuntingtonBcshs HBAN 14.92 -0.35
                                                                                                                                                                                                                             Marathon Petrol MPC 61.81 -1.88 i PepsiCo                                Sony            SONY 120.59                           -2.67 ValeroEnergy VLO 68.22 -2.63
                                                                                         Chubb            CB   190.23                                                                                                                                                             PEP 169.81 0.84                                                                   VeevaSystems VEEV 266.83 1.04
    AdvMicroDevices AMD 133.80 -4.75                                                                                                 Equitable       EQH 32.04 -0.31             HyattHotels H            82.63 -3.80
                                               BkNovaScotia BNS 67.00 -0.70              ChunghwaTel CHT 40.92                                                                                                               MaravaiLifeSci MRVI 40.18 0.71 PerkinElmer PKI 187.42 -0.36 Southern                     SO    66.18                            1.10
    Aegon           AEG     4.50 -0.06
                                               Barclays        BCS     9.56 -0.27    l   Church&Dwight CHD 97.76
                                                                                                                                     EquityLife      ELS   85.81 0.75            lAC/InterActive IAC 126.33 -3.83
                                                                                                                                                                                                                             Markel          MKL 1229.82 ■-11.96                                      SoCopper        SCCO 59.54                            -0.92 Ventas             VTR 48.35 -0.02
                                                                                                                                                                                                                                                                   PetroChina     PTR 44.84 -0.80
    AerCap          AER 59.75 -0.80            BarrickGold GOLD 17.97 0.02               ChurchillDowns CHDN 224.42
                                                                                                                                 1   EquityResdntl EQR 87.97 1.11                ICICI Bank        IBN    19.65 -0.25
                                                                                                                                                                                                                             MarketAxess MKTX 401.87 16.03                                          t SouthwestAir    LUV   40.48                           -1.49 VeriSign           VRSN 242.92 -1.78
    AffirmHIdgs AFRM 109.96 -4.72                                                                                                    Erielndemnity A ERIE 195.54 1.65            ICL Group         ICL     9.49 -0.18                                              PetroleoBrasil PBR 11.05 -0.22                                                                   VeriskAnalytics  VRSK 228.94 2.28
                                               Bath&BodyWks BBWI 72.79 -3.68                                                                                                                                                 Marqeta         MQ                                                       Splunk          SPLK 111.50                            0.66
                                                                                     l   Ciena             CIEN 74.12                                                                                                                              17.01 -0.73 PetroleoBrasilA PBR.A 10.34 -0.22
    AgilentTechs A       156.29 0.03           BauschHealth BHC 24.11 -0.27
                                                                                                                                     EssentialUtil WTRG 50.98 0.54               IdexxLab          IDXX 605.34 -2.56
                                                                                                                                                                                                                             Marriott        MAR 153.68 -7.13 i Pfizer                                Spotify         SPOT 225.62                           -7.64 t Verizon          VZ    50.28 0.09
                                                                                         Cigna            Cl   215.15                EssexProp       ESS 352.47 6.79         1   IHS Markit        INFO 134.15 1.35                                                               PFE   55.20 2.42                                                                  VertxPharm VRTX 208.15 0.09
    agilon health AGL 22.97 0.11                                                                                                                                                                                                                                                                      StanleyBlackDck SWK 192.43                            -2.13
                                               Baxterlntl      BAX 83.20 2.34            CincinnatiFin CINF 114.37                                                                                                           Marsh&McLen MMC 170.65 -1.15 PhilipMorris PM               91.67 1.63
    AgnicoEagle AEM 48.77 1.10                 BectonDicknsn BOX 252.81 7.84
                                                                                                                                     EsteeLauder EL       360.34 -1.05           ING Groep         ING    13.64 -0.23
                                                                                                                                                                                                                             MartinMarietta MLM 434.93 -4.44 Phillips66                               Starbucks       SBUX 115.56                           -1.17 Vertiv             VRT 25.45 -0.33
                                                                                     1   Cintas           CTAS 457.43                Etsy            ETSY 219.72 -5.56           Invesco           IVZ                                                                            PSX 69.64 -2.88                                                                   ViacomCBS A VIACA 33.53 -1.23
    AirProducts APD 297.56 2.21                                                                                                                                                                           22.82 -0.32                                                                                 StateStreet STT 91.26                                 -2.25
                                               BeiGene         BGNE 282.95 -15.48        CiscoSystems CSCO 58.61                                                                                                             MarvellTech MRVL 86.59 -2.43          Pinduoduo      POD 61.61 -2.01                                                                   ViacomCBS B VIAC 30.33 -0.89
    Airbnb          ABNB 171.04 -9.38                                                                                                EverestRe       RE   267.48 -2.49           IPG Photonics IPGP 166.70 -0.23                                                                                      SteelDynamicsSTLD     59.80                           -0.27
                                               BentleySystems BSY 47.62 0.28             Citigroup        C     60.18                                                                                                        Masco           MAS 68.29 -0.42       Pinterest      PINS 36.04 -1.22
                                                                                                                                                                                                                                                                                                                                                            -0.38 Viatris
    AkamaiTech AKAM 115.41 2.40                                                                                                      Evergy          EVRG 67.58 0.64             IQVIA             IQV 269.74 -0.58                                                                                                                                                                  VTRS 12.55 -0.15
                                               Berkley         WRB 80.62 -0.32           CitizensFin      CFG 46.29                                                                                                          Masimo          MASI 276.97 -0.38 PioneerNatRscs PXD 178.88 -5.37 Stellantis             STLA 18.44
                                                                                                                                                                                                                                                                                                                                                                    Visa             V    211.02 -2.38
    Albemarle       ALB 248.80 -14.07                                                                                                EversourceEner ES     89.26 1.38            ITT               ITT 100.32 -0.65                                                                                   Steris          STE  230.02                            0.23
                                               BerkHathwy A BRK.A 4377302730.00          CitrixSystems CTXS 84.03                                                                                                            Mastercard MA 345.31 -4.61 PlainsAIIAmPipe PAA              8.98 -0.28                                                                 Vistra           VST 20.73 -0.29
    Albertsons      ACI   31.32 0.62                                                                                                 ExactSciences EXAS 78.02 -1.28              IcahnEnterprises IEP     50.00 -0.10                                                                                 STMicroelec STM 47.79                                 -0.60
                                               BerkHathwy B BRK.B 290.01 1.78            Clarivate         CLVT 24.94                                                                                                        MatchGroup MTCH 126.20 -4.14 PlugPower               PLUG 32.23 -0.99                                                                t VMware           VMW 111.88 -1.22
    Alcoa           AA    47.78 -1.02                                                                                                Exelon          EXC 54.14 0.23              Icon              ICLR 277.56 0.46                                                                                   Stryker         SYK 260.07                            -0.13
                                               BerryGlobal BERY 70.66 -1.31              Cleveland-Cliffs CLF   20.13                                                                                                        McAfee          MCFE 25.71 0.01 Pool                 POOL 562.20 -0.47                                                                 Vodafone         VOD 14.96 -0.14
                                                                                                                                     Expedia         EXPE 161.00 -5.95           IDEX              IEX 236.53 0.24
    Alcon           ALC 83.57 -0.59            BestBuy         BBY 100.24 -2.88          Clorox           CLX 172.08                                                                                                         McCormick       MKC 93.06 2.55 PrincipalFin PFG 71.28 -0.71 SumitomoMitsSMFG 6.72                                              -0.12
                                                                                                                                                                                                                                                                                                                                                                    VornadoRealty VNO 41.40 -0.64
1   AlexandriaRIEst ARE 214.04 2.10                                                                                              1   Expeditorslntl EXPD 134.29 3.28         1   IliinoisToolWks ITW 243.43 0.66                                                                                      SunComms        SUI 201.12                             1.94
                                               Bilibili        BILI 55.55 -3.57          Cloudflare       NET 145.03                                                                                                         McCormickVtg MKC.V 92.94 2.68 ProcoreTech PCOR 81.20 -1.38                                                                             VulcanMatls VMC 203.87 -1.59
    Alibaba         BABA 122.24 -2.82                                                                                            1   ExtraSpaceSt EXR 212.85 4.14                lllumina          ILMN 379.54 5.02
                                               Bill.com        BILL 250.83 -4.21     1   Coca-Cola        KO    57.76                ExxonMobil XOM 61.63 -1.38                  ImperialOil
                                                                                                                                                                                                                           l McDonalds       MCD 263.09 -1.88 i Procter&Gamble PG      157.67 2.21 SunLifeFinancial SLF     53.97                           -0.56
    AlignTech       ALGN 629.91 -38.21                                                                                                                                                             IMO 33.38 -1.54                                                                                    SuncorEnergy    SU    23.82                           -0.80
                                               Bio-Techne      TECH 470.37 4.33          Coca-ColaEuro CCEP 53.24                    F5              FFIV 230.03 0.57            Incyte            INCY 67.81 2.41
                                                                                                                                                                                                                             McKesson        MCK 230.80 -2.29 Progressive PGR 96.69 1.63                                                                                   W X Y Z
    Alleghany       Y    674.96 -0.84          Bio-RadLab A BIO 752.20 6.15                                                                                                                                                  MedicalProp MPW 22.12 0.28 i Prologis                PLD 161.08 2.63     SunRun          RUN   42.11                           -0.19
                                                                                         Cognex           CGNX 76.87                 EMC             FMC 105.03 -3.14
    Allegion        ALLE 130.46 -0.60                                                                                                                                            Informatica INFA 36.35 -2.17                                                                                         Suzano          SUZ   10.21                           -0.25   WEC Energy WEC 95.11 1.63
                                               Biogen          BIIB 234.50 1.88          CognizantTech CTSH 81.93                                                                                                            Medtronic       MDT 112.86 0.43 PrudentialFin PRU 105.08 -1.96
                                                                                                                                     FactSet         FDS 466.54 0.47             Infosys           INFY 22.61 -0.58                                                                                                                                         -6.19 W.P.Carey
    AlliantEnergy LNT 59.65 0.76               BioMarinPharm BMRN 83.79 -1.10            CoinbaseGIbl COIN 251.37                    Fairlsaac       FICO 414.04 6.55                                     59.64 0.05
                                                                                                                                                                                                                             MercadoLibre MELI 1180.00 35.50 Prudential           PUK 33.72 -0.66 Synaptics           SYNA 275.47                                                    WPC 79.96 0.71
    Allstate        ALL 108.20 0.18                                                                                                                                              IngersollRand IR                                                                                                     SynchronyFin    SYF   46.34                           -1.53   WPP              WPP 72.09 -0.73
                                               BioNTech        BNTX 278.22 20.54         ColgatePalm CL         81.14                                                                                                        Merck           MRK 73.42 0.80 1 PublicServiceEnt PEG 65.19 1.39
                                                                                                                                 1   Farfetch        FTCH 31.30 -2.28            Insulet           PODD 264.60 2.08
    AllyFinancial ALLY 47.18 -1.45             BlackKnight BKI       77.05 3.30      I   Comcast A        CMCSA 47.71                                                                                                        MetaPlatforms FB     334.49 4.74 1 PublicStorage PSA 355.21 7.21 SyneosHealth SYNH 100.86                                       0.78 Wabtec             WAB 89.52 -1.42
                                                                                                                                 1   Fastenal        FAST 64.09 -0.01            Intel             INTC 50.00 -0.59
                                                                                                                                                                                                                                                                                  PHM 54.99 -1.23 Synopsys
    AlnylamPharm ALNY 186.42 12.77             BlackRock                                                                                                                                                                     MetLife         MET 59.87 -0.76                                                          SNPS 362.23                           -0.11   WalgreensBoots WBA 49.14 -0.36
                                                               BLK 917.66 -7.50          Comerica         CMA 81.95                  FederalRealty FRT 129.54 -0.77                                                                                                PulteGroup
                                                                                                                                                                                 IntelliaTherap NTLA 114.25 0.24
    Alphabet C      GOOG 2934.09 -39.41        Blackstone      BX   129.00 -4.80         ConagraBrands CAG 32.47                                                                                                             MettlerToledo MTD 1590.20 1.83 PureStorage PSTG 31.86 -0.60 Sysco                        SYY 73.38                             -0.29 Walmart             WMT143.57 2.54
    Alphabet A GOOGL 2916.53 -43.50                                                                                                  FedEx           FDX 240.90 -5.38            InteractiveBrkrs IBKR 75.18 -1.05                                                                                                                                                  WarnerMusic WMG 41.10 0.29
                                               Block           SO   175.44 -5.88         Concentrix       CNXC 171.00                                                                                                          MicrochipTech MCHP 85.16 -1.97           Qiagen         QGEN       54.78          0.43
    Altria          MO    45.36 0.27                                                                                             1   Ferguson        FERGil65.65 0.96            ICE               ICE 135.58 0.04
                                                                                                                                                                                                                               MicronTech
                                                                                                                                                                                                                                                                                                                                    T U V                           WasteConnections WCN 131.82 -0.86
                                               BlueOwICapital OWL 14.80 -0.35            Confluent        CFLT 63.77                                                                                                                            MU    84.35 -1.19       Qorvo          QRVO      154.99         -4.24
    AlumofChina ACH 13.24 -0.49                                                                                                      Ferrari         RACE 258.40 -2.90           InterContinentl IHG      60.44 -2.41                                                                                                                                               WasteMgt         WM 164.23 -0.49
                                               Boeing          BA 197.40 -7.66           ConocoPhillips COP 71.02                                                                                                              Microsoft        MSFT 339.40 -3.14     1 Qualcomm       QCOM      183.32         -0.56     TC Energy        TRP 45.76         0.14
    Amazon.com AM2N 3391.35 -52.89                                                                                                   FidNatIFin      FNF    50.40 0.09           IBM               IBM 122.58 -1.51                                                                                                                                                 Waters           WAT 344.53 3.57
                                               BookingHIdgs BKNG 2149.51 -86.85      1   ConEd            ED    83.47                                                                                                      1   MidAmApt         MAA 218.45 1.98         Qualtricslntl XM          33.46         -0.11     TD Synnex        SNX 106.39       -2.58
    Ambev           ABEV 2.80 -0.01                                                                                                  FidNatllnfo     FIS 104.75 0.25             IntIFIavors       IFF 146.50 -0.62                                                                                                                                                 Watsco                         5.22
                                               BoozAllen       BAH 84.74 1.31            ConstBrands A STZ 237.37                                                                                                              Middleby         MIDD 189.27 0.79        QuantaServices PWR       112.01         -2.35     TE Connectivity TEL 158.08        -2.28 ’ Wayfair
    Amcor           AMCR 11.67 0.07                                                                                                  FifthThirdBncp FITB 42.40 -1.36             IntIPaper         IP     45.84 -0.05                                                                                                                                                                W    205.55 3.51
                                               BorgWarner BWA 44.81 -1.26                ConstBrands BSTZ.B 237.19                                                                                                             MitsubishiUFJ MUFG 5.49 -0.09            QuantumScape OS           23.37         -0.53     Telus            TU    22.85      -0.26 WellsFargo
    Amdocs          DOX 72.70 0.61                                                                                                   FirstHorizon FHN 15.94 -0.39                Interpublic       IPG    36.85 -0.19                                                                                                                                                                WFC 48.56 -1.64
                                               BostonProps BXP 113.80 -0.30              ContinentaIRscsCLR 44.01                                                                                                              MizuhoFin        MFG    2.53 -0.03     1 QuestDiag      DGX       163.26          3.20     Teluslntl        TIXT 31.99       -0.67
    Amerco          UHAL 705.21 0.10                                                                                                 FirstRepBank FRC 205.31 -3.35               Intuit            INTU 668.74 -9.21                                                                                                                                                Welltower                      0.73
                                               BostonSci       BSX 41.43 0.26            Cooper            COO 394.35                                                                                                          Moderna          MRNA 271.99 14.93                                                         Ternium          TX    43.71       0.06 WestFraserTimber
    Ameren          AEE 87.96 0.72                                                                                                   FirstSolar      FSLR 97.07 -0.13            IntuitiveSurgical ISRG 340.36 -4.60                                                                                                                                                                              -0.84
                                               BristolMyers BMY 59.05 2.69               Copart           CPRT 145.81                                                                                                          Mohawklnds MHK 174.60 -3.78                                                                TFI Inti         TFII 104.65      -3.62 WestPharmSvcs WST 440.91
    AmericaMovil AMX 18.67 -0.51                                                                                                 1   FirstEnergy FE        40.17 0.55            InvitatHomes INVH 43.17 0.44                                                                                                                                                                                      9.34
                                               BritishAmTot BTI      36.39 -0.33         Corning          GLW 36.93                                                                                                            MolinaHealthcare MOH 300.94 -2.04                                                          TJX              TJX   73.13      -1.60
    AmericaMovil A AMOY 18.52 -0.49                                                                                                  FirstService FSV 192.50 -0.24           1   IronMountain IRM 49.56 1.14                                                            RELX              RELX      31                                                              WestAllianceBcp WAL 104.82 -2.27
                                               Broadcom        AVGO 621.66 -10.02        Corteva          CTVA 46.63                                                                                                           MolsonCoorsB TAP 46.02 -0.21                                                               T-MobileUS TMUS 115.01             0.24 WesternDigital WDC 55.73 -2.14
    AtnerAirlines AAL 17.12 -0.89                                                                                                    Fiserv          FISV 104.29 1.10            ItauUnibanco ITUB         3.74 -0.14                                                   RH
                                               BroadridgeFinl BR    179.38 1.02          CoStar           CSGP 78.04                                                                                                           MolsonCoorsA TAP.A 58.00 -2.00                                                             TRowePrice TROW 194.12            -2.05 WestlakeChem WLK 93.23 -2.57
    AEP             AEP 84.98 0.99                                                                                                   FiveBelow       FIVE 191.74 -9.99                                                                                                  RPM
    AmerExpress AXP 163.30 -3.73
                                               BrookfieldMgt BAM 58.04 -0.34
                                               Brookfieldlnf BIP     56.79 -0.65
                                                                                         Costco           COST 557.22
                                                                                         CoterraEnergy CTRA 20.46
                                                                                                                                     Five9           FIVN 129.54 -2.51
                                                                                                                                     FleetCorTech FLT 217.22 -5.59
                                                                                                                                                                                            J    K        L                    monday.com MNDY 271.62 ■36.32
                                                                                                                                                                                                                               Mondelez         MDLZ 63.17 0.91
                                                                                                                                                                                                                                                                        RalphLauren
                                                                                                                                                                                                                                                                        RaymondJames
                                                                                                                                                                                                                                                                                                                          TaiwanSemi TSM 116.42
                                                                                                                                                                                                                                                                                                                          TakeTwoSoftware TTWO 166.26
                                                                                                                                                                                                                                                                                                                                                            -2.71 WestpacBanking WBK 14.62 -0.33
                                                                                                                                                                                                                                                                                                                                                             0.66 WestRock           WRK 43.02 -0.60
    AmericanFin AFG 137.05 -0.97           1   BrookfieldRenew BEPC 34.03 0.27       I   CoupaSoftware COUP154.01                                                                JD.com            JD      78.05 -1.66         MongoDB          MDB 494.93 -12.80
                                                                                                                                     Floor&Decor FND 125.87 -0.26                                                                                                       RaytheonTech                                      TakedaPharm TAK 13.50             -0.02   Weyerhaeuser WY        40.05 0.03
    AmHomes4Rent AMH 42.18 0.73                Brown&Brown BRO 66.95 -0.26                                                                                                       JPMorganChase JPM        157.92 -1.90         MonolitbicPower MPWR480.01 -23.40
                                                                                         Coupang          CPNG 27.24                 FomentoEconMex FMX 69.55 -1.44                                                                                                     Realtylncome                                      Tapestry         TPR 42.05        -1.18 WheatonPrecMet WPM 40.93 0.27
    AIG             AIG   53.84 -0.55          Brown-Forman B BF.B 72.23 0.96                                                                                                    Jabil             JBL     64.03 -1.37         MonsterBev MNST 89.78 0.23
                                                                                         Credicorp        BAP 110.31                 FordMotor       F     20.43 -1.02                                                                                                  RegalRexnord                                      TargaResources TRGP 50.69         -1.52 Whirlpool          WHR 228.20 -1.83
    AmerTowerREIT AMT 276.02 3.45              Brown-Forman A BF.A 67.08 1.38                                                                                                    JackHenry         JKHY   162.52 4.27          Moody's          MCO 398.80 1.05
                                                                                         CreditAcceptance CACC 642.69                Fortinet        FTNT 331.60 -1.03                                                                                                  RegencyCtrs                                       Target           TGT 234.17       -4.01 Williams           WMB 26.24 -0.40
    AmerWaterWorksAWK 180.90 4.76              Bruker          BRKR 80.89 0.05                                                                                                   JacobsEngg J             140.89 -2.55         MorganStanley MS       97.17 -1.26
                                                                                         CreditSuisse CS         9.36                Fortis          FTS   45.86 0.30                                                                                                   RegenPharm                                        TataMotors TTM 31.95              -0.80 Williams-Sonoma WSM 169.64 -5.79
    AmericoldRealty COLD 33.30 0.94            Builders First BLDR 77.44 -2.13                            CROX 156.91                                                            JamesHardie JHX           40.12 -0.90         Morningstar MORN 323.33 0.37
                                                                                         Crocs                                       Fortive         FTV 74.92 -0.24                                                                                                    RegionsFin                                        TeckRscsB        TECK 26.96       -0.26 WillisTowers                    -1.83
    Ameriprise      AMP 292.84 -4.97           Bunge           BG    87.86 0.95                                                                                                  JefferiesFin JEF          37.53 -0.77         Mosaic           MOS 35.87 -0.87
                                                                                         CrowdStrike CRWD 198.68                     FortBrandsHome FBHS 104.42 -1.26                                                                                                   RelianceSteel                                     TeladocHealth TDOC 92.54          -1.47 WillScotMobile wsc 39.21 -0.51
    AmerisourceBrgn ABC 122.52 -0.61           BurlingtonStrs BURL 278.17 -11.03                                                                                                 J&J               JNJ    168.45 2.96      l   MotorolaSol MSI 263.29 -1.63
                                                                                         CrownCastle CCI 198.63                      FoxA            FOXA 36.31 -0.51                                                                                                   Repligen                                          TeledyneTech TDY 432.54           -2.83   Wipro            WIT    8.65 -0.02
    Ametek          AME 142.50 -0.25           CBRE Group CBRE 104.09 0.39                                                                                                       JohnsonControls JCI       78.90 -0.42         NICE             NICE 302.19 -1.20
                                                                                         CrownHoldings CCK 106.32                    FoxB            FOX 33.80 -0.44                                                                                                    RepublicSvcs                                      Teleflex         TFX 320.76       -0.53   Wolfspeed        WOLF 110.78 -4.41
    Amgen           AMGN 211.39 0.50           CDW             CDW 191.75 -3.12          CubeSmart        CUBE 54.94                                                             JonesLang         JLL    257.49 -2.53         NIO              NIO   33.66 -0.60
                                                                                                                                     Franco-Nevada FNV 132.58 1.85                                                                                                      ResMed                                            Ericsson         ERIC 10.32       -0.09   Workday          WDAY 280.92 1.24
    Amphenol        APH 83.60 -0.67            CF Industries CF      61.22 0.05                                                                                              1   JuniperNetworks JNPR      34.01 0.01          NRG Energy NRG 39.97 1.11
                                                                                         Cummins          CMI 216.12                 FranklinRscs BEN 34.12 0.07                                                                                                        RestaurantBrands                                  TelefonicaBras VIV      8.58      -0.11   WynnResorts                   -2.81
    AnalogDevices ADI 178.47 -4.96             CGI             GIB   86.26 0.75          CyrusOne         CONE 89.49                                                         I   JustEatTakeaway GRUB      10.84 -0.33         NVR              NVR 5785.90-:149.82
                                                                                                                                     FreeportMcM FCX       37.63 -0.74                                                                                                1 RexfordlndlRealty                                 Telefonica       TEF    4.15      -0.07 XP                 XP    31.16 1.05
    AB InBev        BUD 57.66 -0.26        l   CH Robinson CHRW 104.99 0.29                                                                                                      KB Fin            KB      48.13 -0.90         NXP Semi         NXPI 221.79 -4.67
                                                                                                                             1       FreseniusMed FMS 30.67 0.18                                                                                                        RingCentral                                       Telekmlndonesia TLK    28.15      -0.33 XPO Logistics XPO 72.78 -2.94
    AnnalyCap       NLY     8.23 -0.15         CME Group CME 227.90 -0.50                                                    |       FullTruck                                   KE Holdings BEKE          18.73 -3.38         Nasdaq           NDAQ 205.48 -0.30
                                                                                                                                                     YMM 10.78 -1.00                                                                                                    RioTinto                                          TempurSealy TPX 45.73              0.90 XcelEnergy         XEL   67.46 0.95
    Anthem          ANTM 430.04 -0.96          CMS Energy CMS 63.74 1.21                                                                                                         KKR               KKR     72.39 -2.95     l   NationalGrid NGG 69.28 -0.26
                                                                                                                                                                                                                                                                        Rivian                                            IDxGenotnics TXG 139.40           -0.11   Xilinx           XLNX 209.52 -7.66
    Aon             AON 293.81 0.07            CNA Fin         CNA 43.36 -0.75         DISH Network DISH 32.45                                   Q H         1       n           KLA               KLAC   399.75 •■10.94       NatWest          NWG 5.66 -0.09
                                                                                                                                                                                                                                                                        RobertHalf                                        Tenaris          TS    20.06      -0.38 XPeng              XPEV 45.32 -1.51
    ApolloGIbMgmt APO 69.61 -0.04              CNH Indl        CNHI 17.55 -0.22        DTE Energy DTE 117.17                                                                     KSCitvSouthern KSU       293.59 -5.05         NetApp           NTAP 87.19 -2.13
                                                                                                                                                                                                                                                                      t Robinhood                                         TencentMusic TME 6.43             -0.35 Xvlem              XYL 122.10 -0.70
1   Apple           AAPL 175.74 -3.71          CRH             CRH 49.74 -0.67         Danaher         DHR 318.51                  GDS Holdings GDS           50.16 -2.53        Kanzhun            BZ     40.62 1.44          NetEase          NTES 103.01 0.17
                                                                                                                                                                                                                                                                        Roblox                                            Teradyne         TER 155.36       -4.40 Yandex             YNDX 61.70 -1.65
    AppIMaterials AMAT 147.10 -5.63            CSX             CSX 36.01 -0.73         Darden          DRI 147.79                  GFLEnvironmental GFL       36.15 -0.76        Kellogg           K       63.48 0.86          Netflix          NFLX 604.56 -7.10
                                                                                                                                                                                                                                                                        RocketCos.                                        Tesla            TSLA 966.41     ■50.62 YumBrands YUM 132.14 -1.73
    Applovin        APP 88.85 -1.82        l   CVS Health CVS 98.90 0.04               Darlinglngred DAR 63.39                     GXO Logistics GXO          86.51 0.73         KeurigDrPepper KDP        35.30 -0.02         NewellBrands NWL 22.26 -0.07
                                                                                                                                                                                                                                                                      1 Rockwell                                          TetraTech        TTEK 168.05      -3.88 YumChina           YUMC 49.61 -1.04
    Aptiv           APTV 162.96 -6.01          CableOne        CABO 1699.98 -9.97      Datadog         DDOG 172.03                 Gallagher        AJG      168.81 -0.79        KeyCorp           KEY     22.45 -0.56         Newmont          NEM 57.17 1.07
                                                                                                                                                                                                                                                                        RogersComm B                                      TevaPharm        TEVA 8.17        -0.17 ZTO Express ZTO 31.13 -0.42
    Aramark         ARMK 34.67 -1.14           CadenceDesign CDNS 184.13 -0.01         DaVita          DVA 105.64                  GameStop          GME      136.88 ■■22.13 1   KeysightTechs KEYS       204.09 2.24          NewsCorp A NWSA 21.45 -0.41
                                                                                                                                                                                                                                                                        Roku                                              Texaslnstruments TXN 193.24       -2.76 ZebraTech          ZBRA 604.98 -9.57
    ArcelorMittal MT      29.22 -0.01          CaesarsEnt      CZR 85.22 -3.76         DeckersOutdoor DECK 378.34-                 Gaming&Leisure GLPI        46.39 0.02         KimberlyClark KMB        139.28 3.21          NewsCorp B NWS 21.46 -0.11
                                                                                                                                                                                                                                                                        Rollins                                           TexasPacLand TPL 1245.48         ■22.48 Zendesk            ZEN 100.95 0.38
    ArchCapital ACGL 43.35 -0.08           1   CamdenProperty CPT 175.75 2.06          Deere           DE   351.42                 Garmin           GRMN     134.69 -1.42        KimcoRealty KIM           22.96           1   NextEraEnergy NEE 91.74 1.46
                                                                                                                                                                                                                                                                        RoperTech                                         Textron          TXT 73.13        -2.28 Zillow C           Z     59.52 -0.71
    ArcherDaniels ADM 64.64 1.19               Cameco          CCJ   21.42 -0.53       DellTechC       DELL 55.72                  Gartner          IT       320.44 -1.55        KinderMorgan KMI          15.93 -0.23         Nike             NKE 166.84 -2.22
                                                                                                                                                                                                                                                                        RossStores                                        ThernnoFisherSci TMO 646.01        3.50 Zillow A           ZG    57.97 -1.13
    AresMgmt        ARES 77.71 -0.98           CampbellSoupCPB 43.66 0.51              DeltaAir        DAL 36.87                   Generac          GNRC     345.48 -2.76        KirklandLakeGold KL       38.59 0.74          NiSource         Nl    26.27 0.34
                                                                                                                                                                                                                                                                        Royal BkCanada                                    ThomsonReuters TRI 119.84         -0.88   ZimmerBiomet ZBH 125.46 0.97
    arGEN-X         ARGX 303.00 5.10           CIBC            CM 110.43 -1.22         DentsplySirona XRAY 53.43                   GeneralDynamics GD        203.49 -1.44 1      Knight-Swift KNX          61.26 0.30          Nokia            NOK    5.98 -0.04
                                                                                                                                                                                                                                                                        RoyalCaribbean RCL          72.15                 3M               MMM 174.58       -2.52 ZionsBancorp ZION 61.17 -2.04
    AristaNetworks ANET 132.18 1.49            CanNtIRIwy CNI 125.42 -4.02             DeutscheBank DB       12.20                 GeneralElec GE             93.13 -3.82        KoninklijkePhil PHG       33.89 -0.43         NomuraHoldings NMR 4.41 -0.07
                                                                                                                                                                                                                                                                        RoyalDutchA RDS.A           42.83                 Toast            TOST 34.50       -2.77 l Zoetis           ZTS 232.36 0.91
    ArrowElec       ARW 124.30 -2.27           CanNaturalRes CNQ 39.85 -1.77           DevonEnergy DVN 41.06                     1 GeneralMills GIS           65.93 1.17         KoreaElcPwr KEP            9.03 -0.30         Nordson          NDSN 267.91 -2.76
                                                                                                                                                                                                                                                                        RoyalDutchB RDS.B           42.70               1 Toll Bros        TOL 72.09        -2.52 ZoomVideo ZM 184.57 -0.68
    Asana           ASAN 64.20 -3.71           CanPacRIwv CP         70.76 -1.82       DexCom          DXCM 549.61 -               GeneralMotors GM           59.13 -4.08        KraftHeinz        KHC     34.48 0.33          NorfolkSoutbern NSC 284.49 -5.04
                                                                                                                                                                                                                                                                        RoyaltyPharma RPRX          37.87                 TopBuild         BLD 274.89       -3.91 ZoomlnfoTech Zl          62.03 -1.72
    AspenTech       AZPN 148.20 1.20           Canon           CAJ   23.21 -0.15       Diageo          DEO 209.01                  Genmab           GMAB      38.07 0.03         Kroger            KR      45.63 1.03          NorthernTrust NTRS 117.07 -1.28
                                                                                                                                                                                                                                                                        RyanSpecialty RYAN          38.48                 Toro             TTC   98.46      -1.43   Zscaler          ZS   308.54 2.79
    Assurant        AIZ 154.11 -0.89           CapitalOne      COF 146.04 -4.37        Diamond bkEner FANG 106.61                  Genpact          G         50.96 0.15         LKQ               LKQ     56.44 -1.53         NorthropGrum NOC 377.33 6.27
    AstraZeneca AZN 54.58 0.56                 Capri           CPRI 62.49 -3.09        Dick's          DKS 105.26                  GenuineParts GPC          132.51 -2.32        LPL Financial LPLA       156.94 -3.33         NortonLifeLock NLOK 24.57 0.25
    Athene          ATH 79.72 -0.26            CardinalHealthCAH 48.44 -0.05           DiDiGlobal      DIDI   6.42                                                                                                             NorwegCruise NCLH 20.59 -0.95
    Atlassian       TEAM 369.93 -2.69          Carlisle        CSL 240.33 -0.75      1 DigitalRealty DLR 171.42
                                                                                                                                   GileadSciences GILD
                                                                                                                                   GinkgoBioworks DNA
                                                                                                                                                              70.61 0.36
                                                                                                                                                              10.11 0.04
                                                                                                                                                                                 LSHarrisTech LHX
                                                                                                                                                                                 LabCorp.ofAmerica LH
                                                                                                                                                                                                          217.94 1.14
                                                                                                                                                                                                          292.44 4.05          Novartis         NVS 80.85 0.18        New Highs and Lows
    AtmosEnergy ATO 97.35 1.61                 Carlyle         CG    52.98 -1.14       DigitalOcean DOCN 80.55                     GitLab           GTLB      72.75 -2.25        LamResearch LRCX         684.97 •■20.99       Novavax          NVAX 169.06 2.50
    Auroralnnov AUR 13.10 -0.17                CarMax          KMX 143.25 -6.23        DiscoverFinSvcs DFS 112.85                  GSK              GSK       43.11 -0.06        LamarAdv          LAMR   114.70 -1.44     l   NovoNordisk NVO 115.70 1.35
    Autodesk        ADSK 268.88 -0.12          Carnival        CCL   18.34 -0.94       DiscoveryB      DISCS 34.70                 Global-EOnline GLBE        58.04 -0.85        LasVegasSands LVS         36.93 -0.73         Novocure         NVCR 86.59 2.34         The following explanations apply to the New York Stock Exchange, NYSE Area, NYSE American
    Autoliv         ALV 100.59 -2.50           Carnival        CUK 16.80 -0.93         DiscoveryA      DISCA 22.75                 GlobalPayments GPN        126.95 1.15         LatticeSemi LSCC          75.13 -2.08         NuHoldings NU          10.81 -1.04       and Nasdaq Stock Market stocks that hit a new 52-week intraday high or low in the latest
    ADP             ADP 235.02 -1.71           CarrierGlobal CARR 54.93 -0.58          DiscoveryC      DISCK 21.88                 GlobalFoundries GFS        61.21 -2.62        Lear              LEA    183.79 -3.84         NuanceComms NUAN 55.02 -0.26             session. % CHG-Daily percentage change from the previous trading session.
    AutoZone        AZO 1986.10 -16.92         Carvana         CVNA 264.02 -6.80       Disney          DIS 150.43                  Globant          GLOB     273.69 1.32         Leidos            LDOS    89.65 1.55          Nucor            NUE 115.55 2.34
                                                                                                                                                                                                                                                                                                                           Monday, December 13, ZOZ1
                                                                                                                                                                                                                                                                                               52-Wk                                            52-Wk %                                    52-Wk %
                                                                                                                                                                                                                                                                      Stock                                             Stock                Sym Hi/Lo Chg Stock                        Sym Hi/Lo Chg
                                                                                                              ADVERTISEMENT                                                                                                                                                                                             OReillyAuto          ORLY     683.72   -1.6    BlendLabs         BLND     7.80 -1.9
                                                                                                                                                                                                                                                                                    Highs                               OcwenFinancial       OCN       39.32   -2.7    BlonderTongueLab BDR       0.56 -30.8
                                                                                                                                                                                                                                                                                                                        PBHealthPartnersWt              1.99   -9.7    BoltBiotherap     BOLT     4.21 -8.0

                                                                                    The Marketplace
                                                                                                                                                                                                                                                                                                                                             PIMW
                                                                                                                                                                                                                                                                      AbbottLabs          ABT       137.00              PepsiCo              PEP      171.26    0.5    BonNaturalLife BON         4.46 1.1
                                                                                                                                                                                                                                                                      AbbVie              ABBV      127.74              Pfizer               PFE       55.73    4.6    BoqiiHolding      BQ       1.18 -3.2
                                                                                                                                                                                                                                                                      Accenture           ACN       381.15              PineTech                                       BraggGaming                5.10 -4.1
                                                                                                                                                                                                                                                                                                                                             PTOCU     10.21   -0.2                      BRAG
                                                                                                                                                                                                                                                                      AlexandriaRIEst ARE           215.02
                                                                              To advertise: 800-366-3975 or WSJ.com/classifieds                                                                                                                                       AlphaStarAcqn ALSAU            10.17
                                                                                                                                                                                                                                                                                                                        Power&Digital II     XPDBU     10.56    1.7    BridgeBioPharma BBIO
                                                                                                                                                                                                                                                                                                                                                                       BridgetownUn
                                                                                                                                                                                                                                                                                                                                                                                                 35.57 5.1
                                                                                                                                                                                                                                                                                                                                                                                                  9.95    ...
                                                                                                                                                                                                                                                                                                                        Procter&Gamble       PG       158.33    1.4                      BTWNU
                                                                                                                                                                                                                                                                      AmCampus            ACC        55.62              Prologis             PLD      161.80    1.7    BrightHorizons    BFAM   115.01 1.8
                                                                                                                                                                                                                                                                      AmerStWater         AWR        99.92              PublicServiceEnt     PEG       65.62    2.2    BrilliantAcqnRt BRLIR      0.12 -7.1
                                                                                                                                                                                                                                                                      AptlncmREIT         AIRC       54.56                                                             BrilliantAcqnWt BRLIW      0.22 -35.0
                                                                                PUBLIC NOTICES                                                                                                                BUSINESS OPPORTUNITIES                                  Apple               AAPL      182.13
                                                                                                                                                                                                                                                                                                                        PublicStorage        PSA      357.30    2.1
                                                                                                                                                                                                                                                                                                                        Qualcomm             QCOIVl   191.30   -0.3    BroadstoneAcqnA BSN        9.27 -2.9
                                                                                                                                                                                                                                                                      ArenaPharm          ARNA       94.08                                                             BrookfieldBRP Nts BEPH    23.86 -0.9
                                                                                                                                                                                                                                                                                                                        QuestDiag            DGX      164.44    2.0
                                                                                                                                                                                                                                                                      ArieslAcqnA         RAM        10.20                                                             BrookfieldRenew BEPC      33.45 0.8
                                                                                                                                                                                                                                                                                                                        RexfordlndlRealty    REXR      76.63    1.4
                                                                                                                                                                                                                                                                      ArieslAcqnWt        RAMMW       1.20                                                             BrookfieldRenew BEP       32.90 0.6
                                                                                                                                                                                                                                                                                                                        Rockwell             ROK      353.83    0.1
                                                                                                                                                                                                                                                                      AtlanticusNts26 ATLCL          25.60                                                             BurTechAcqn                9.98 -0.1
                                                                            NOTICE OF PUBLIC SALE OF COLLATERAL                                                                                                                                                       Avalonbay          AVB        249.38
                                                                                                                                                                                                                                                                                                                        S&P Global           SPGI     481.61    1.1                      BRKHU

     NOTICE IS HEREBY GIVEN that pursuant to: (a) Section 9-610 of the Uniform Commercial Code ("UCC") as adopted in the State of New York, (b) that certain (i) Amended and                                                                                                                                            STAG Indl            STAG      45.98    2.6    Cadiz             CDZI     3.56 -7.5
                                                                                                                                                                                                                 Leading Las Vegas cab                                BELLUS Health BLU               9.84
     Restated Second Mezzanine Loan Agreement (the "Loan Agreement") by and between One Lincoln Mezz 2 LLC, as successor-in-interest to Teachers Insurance and Annuity                                                                                                                                                  SantanderCons        SC        42.87   -1.6    CM Life III A     CMLT     9.66 -1.7
                                                                                                                                                                                                                                                                      BRileyFinlNt2026 RILYG         25.00                                                             CN Energy                  2.40 -6.9
     Association of America (together with any of its successors and/or assigns permitted hereunder, "Secured Party") and Lincoln Street Mezz II, LLC ("Debtor") pursuant to which                                company is soliciting                               BFC Cap Pfd        BANFP       30.50
                                                                                                                                                                                                                                                                                                                        SeaportCalibre       SCMAU     10.19    0.2                      CNEY

     Secured Party made a loan to Debtor in the principal amount of $125,000,000.00 (the "Loan"); and (ii) Second Mezzanine Pledge and Security Agreement dated November 10,                                                                                                                                            SherwinWilliams      SHW      348.55   -0.1    CompassPath       CMPS    23.89 -2.4
                                                                                                                                                                                                                potential buyers to enter                             BioPlusAcqnUn BIOSU            10.07                                                             CaledoniaMining CMCL      11.21 -2.1
     2016 by and between Secured Party and Debtor (the "Pledge Agreement"), Secured Party will offer for sale to the public in a public auction to be conducted both in person                                                                                                                                          Sigmatron            SGMA      17.30   -6.3
                                                                                                                                                                                                                                                                      BlackSpadeAcqn BSAQ.U          10.36                                                             Calyxt            CLXT     2.05 -1.4
     (subject to the C0VID pandemic and applicable laws, as outlined below) and via audio/video teleconference to the live auction (the "Auction"): (a) 100!d of the limited liability                                                                                                                                  SmithAO              AOS       84.16   -0.1
                                                                                                                                                                                                              confidential communications                             BluegreenVac        BVH        34.07                                                             CambiumNtwks CMBM         21.44 -0.9
     company interests in Lincoln Street Mezz, LLC, a Delaware limited liability company (the "Pledged Entity"); and (b) certain related rights and property relating thereto                                                                                                                                           SouthportAcqn        PORT.U    10.03    0.1
                                                                                                                                                                                                                                                                      BlueknightEnerA BKEPP           8.67                                                             CannaGIblAcqn CNGLU 10.08 -0.3
     (collectively, the "Pledged Collateral"). The Pledged Entity owns lOOK of the limited liability company interests in Lincoln Street Property Owner, LLC ("Property Owner"                                 regarding the sale of some                                                                               SovosBrands          SOVO      17.41   -7.4
                                                                                                                                                                                                                                                                      BlueLinx            BXC        85.80                                                             CanopyGrowth CGC           9.06 -2.6
     or "Mortgage Borrower"), The Loan is subordinate to a mortgage loan (the "Mortgage Loan") and a first mezzanine loan ("First Mezzanine Loan") on the Property in the                                                                                                                                               TaylorMorrison       TMHC      35.51   -1.6
                                                                                                                                                                                                                                                                      BurTechAcqn         BRKHU      10.01
                                                                                                                                                                                                                                                                                                                                                                       CardiovascularSys CSM     18.50 1.2
     cumulative original principal amount of $660,000,000.00 for the avoidance of doubt, which amount does not include accrued interest, default interest, late fees, enforcement                             or all the assets or interests                          CH Robinson         CHRW      106.30              TerrenoRealty        TRNO      81.91    3.0
     costs or any additional amounts comprising the Senior Loan as of today's date). Reference is hereby made to the UCC Public Sale Notice provided by KTB CRE Debt Fund No.                                                                                                                                           Toll Bros            TOL       75.61   -3.4    Carecloud         MTBC     5.86 -5.2
                                                                                                                                                                                                                                                                      CSG Systems         CSGS       57.03
     7 on October 20, 2021 pursuant to which it intends to offer for sale at public auction on December 21, 2021 100!o of the limited liability company membership interests in                                of the company including                                                                                 TractorSupply        TSCO     237.88   -0.5    CarLotzWt         LOTZW    0.48 -11.1
                                                                                                                                                                                                                                                                      CVS Health          CVS        99.33                                                             CatalystBiosci    CBIO     1.02 -1.8
     Lincoln Street Mezz II, LLC, the Debtor.                                                                                                                                                                                                                         CalWtrSvc           CWT        69.92              TradeUPGIobal        TUGCU     10.50     ...
                                                                                                                                                                                                                  medallions, vehicles,                                                                                 TrajectoryAlpha      TCOA.U     9.98     ...   CatchMarkTimber CTT        7.37 -2.9
     The Pledged Collateral is being sold on an "AS IS WHERE IS" basis pursuant to the following terms and conditions.                                                                                                                                                CamdenProperty CPT            177.07
                                                                                                                                                                                                                                                                                                                        TriPointe            TPH       28.29   -2.9    Cazoo             CZOO     5.92 -4.2
     1. The sale of the Collateral will take place on December 20,2021 at 11:00am New York time, subject to the C0VID-19 pandemic and applicable law (including any Executive                                   real estate, and support                              CatalystBncp        CLST       13.98                                                             cbdMD             YCBD     1.25 3.8
                                                                                                                                                                                                                                                                      CenterPointEner CNP            28.13              UDR                  UDR       59.79    1.7
          Orders of the Governor of the State of New York) and be conducted on the front steps of the New York County Supreme Court Building, located at 60 Centre Street, New                                                                                                                                                                                         CelularityWt      CELUW    0.75 -11.8
                                                                                                                                                                                                                           equipment.                                 ChinaXiangFood PUN              3.12              UnitedHealth         UNH      480.26     ...
          York, New York 10007 and via audio/video teleconference to the live auction on the Date of Sale. Qualified Bidders (as defined in the Terms of Public Sale (the "Terms                                                                                                                                                                                       Centogene         CNTG     5.41 -4.7
                                                                                                                                                                                                                                                                      Church&Dwight CHD              98.11              Univlnsurance        UVE       16.63    4.3
          of Sale") for the Pledged Collateral that have timely made the Required Deposit (as defined in Terms of Sale) shall be provided with audio/video teleconference dial-in                                                                                                                                                                                      CenturyTherap IPSC        13.87 -2.4
                                                                                                                                                                                                                                                                      Ciena                          74.68              VelocityFinl         VEL       14.00   -0.2
          information necessary to participate in the Auction electronically and confirmation whether the public will also be held in person, subject to the foregoing provisions. The                                                                                                    CIEN
                                                                                                                                                                                                                                                                                                                                                                       CheckmatePharm CMPI        3.05 -5.2
                                                                                                                                                                                                                                                                      Cintas                        461.44              VentouxCCMAcqn       VTAQU     11.81    2.4
          public sale will be conducted by a licensed auctioneer employed by Paramount Realty USA (the "Auctioneer").                                                                                               Send inquiries and                                                    CTAS
                                                                                                                                                                                                                                                                                                                                                                       ChembioDiagn      CEMI     1.59    ...
                                                                                                                                                                                                                                                                      Coca-Cola           KO         57.93                                   ZTS      233.03    0.4
     2. The sale shall be a public auction to the highest qualified bidder. The Pledged Collateral will be sold as a block, and will not be divided or sold in any lesser amounts.                                                                                                                                                                                     CherryHHIMtg      CHMI     8.10 -6.3
                                                                                                                                                                                                               reasonable demonstration                               CondorHospitality CDOR          7.94
     3. The successful bidder for the Pledged Collateral must be prepared to purchase all of the Pledged Collateral. The Pledged Collateral will be sold to the bidder that makes the                                                                                 ConEd               ED         83.98
                                                                                                                                                                                                                                                                                                                                       Lows                            ChinaNaturaIRscs CHNR      0.56 -19.0
          highest and best bid at the Auction.                                                                                                                                                                                                                                                                                                                         ChinaYuchai       CYD     11.27 -3.7
                                                                                                                                                                                                               of the ability to complete a                           ConsumerPtfo        CPSS       10.00              ADC Therap                     18.86 -0.5
                                                                                                                                                                                                                                                                                                                                             ADCT                      ChromaDex         CDXC     4.17 -3.6
     4. An online datasite for the Sale (the "Datasite") will include certain relevant information that Secured Party possesses concerning the Property, the Loan, the Pledged                                                                                        CorsairPtrWt        C0RS.WS     1.14
                                                                                                                                                                                                              $150,000,000 acquisition to                                                                               AGM                  AGMH       4.82 -0.6      Clan              CIAN    12.15 -2.2
          Entity, the Pledged Collateral, copies of the applicable agreements and other documents evidencing or relating to the Loan, the Mortgage Loan, the First Mezzanine Loan                                                                                     DigitalRealty       DLR       172.42              AGNC Invt            AGNC      15.03 -1.7      Cimpress          CMPR    68.87 -3.8
          and certain other related documents and information in Secured Party's possession. No information provided to a bidder whether provided in the Datasite or otherwise,                                                                                       DukeRealty          DRE        63.18              AIM Immuno           AIM        1.05 -2.6      CingulateWt       CINGW    0.63 -2.4
          shall constitute a representation or warranty of any kind with respect to such information, the Property, the Loan, the Pledged Entity or the Pledged Collateral, or the                                   lvcabcompany@                                    EastStoneAcqn ESSCU            20.03              AlxOncology          ALXO      21.81 -24.2     Cingulate         CING     3.08 -16.0
          Auction. Bidders are encouraged to review all materials in the Datasite and perform such due diligence as they deem necessary in advance of the Auction. Access to the                                                                                      EastStoneAcqn ESSC             19.35
          Datasite, which will be provided upon a request made to the contact listed at the end of this notice and will be conditioned upon execution of a confidentiality agreement                            northtexaslawfirm.com                                                                                   AccelerateDiag       AXDX       4.01 1.2       CipherMining      CIFR     4.93 -8.7
                                                                                                                                                                                                                                                                      EastGroup           EGP       219.02
          provided in connection therewith.                                                                                                                                                                                                                                                                             Accolade             ACCD      23.27 -3.9      CleverLeaves      CLVR     3.85 -1.9
                                                                                                                                                                                                                                                                      Ent4.0TechAcqnWt ENTFW          0.69
                                                                                                                                                                                                                                                                                                                        AcelRxPharm          ACRX       0.51 -8.2      CleverLeavesWt CLVRW       0.48 -1.9
     5. The Pledged Collateral is being sold on an "AS IS WHERE IS" basis, with all faults, and there is no warranty by the Secured Party relating to title, possession, quiet                                                                                        Equifax             EFX       300.11
                                                                                                                                                                                                                                                                                                                        AcumenPharm          ABOS       6.39 -4.0      ClovisOncology CLVS        2.62 -2.5
          enjoyment, merchantability, fitness or the like in this disposition. Secured Party makes no guarantee, representation or warranty, express or implied, as to the existence                                                                                  EquityResdntl       EQR        88.36
                                                                                                                                                                                                                                                                                                                        Aditxt               ADTX       0.72 -7.1      CodereOnlineLuxem CDRO     6.50 -9.6
          or nonexistence of liens, the quantity, quality, condition or description of the Pledged Collateral, the value of the Pledged Collateral, the Debtor's rights in the Pledged                                                                                EsportsEntlO°/oPfdA GMBLP      10.00
                                                                                                                                                                                                                                                                                                                        AeriePharm           AERI       8.46 -2.7      CognitionTherap CGTX       7.05 -11.9
          Collateral or any other matter. The transfer of the Pledged Collateral will be made without recourse and without representation or warranty of any kind by the Secured                                                                                      Expeditorslntl      EXPD      135.85
                                                                                                                                                                                                                                                                                                                        AeroCleanTech        AERC      11.22 -12.6     Cohbar            CWBR     0.43 -3.7
          Party, Lenders or any other person for or on behalf of Secured Party, subject to all defenses by the Secured Party and subject to the Senior Loan.                                                   THE WALL STREET JOURNAL.                               ExtraSpaceSt        EXR       214.45
                                                                                                                                                                                                                                                                                                                                                       29.21 7.1       ColorStarTech              0.44 -6.0
                                                                                                                                                                                                                                                                                                                        AgiosPharm           AGIO                                        CSCW
     6. There are specific requirements for any potential bidder in connection with obtaining information, bidding on the Pledged Collateral, and purchasing the collateral (the                                                                                      FarmersBancp        FMAO       30.94
                                                                                                                                                                                                                                                                                                                        Akerna               KERN       2.03 -1.4      Comcast A         CMCSA   47.45 -1.5
          "Requirements"), including without limitation, that (i) such bidder has satisfied all of the requirements set forth in Terms of Sale to be a Qualified Bidder and complied                                                                                  Fastenal            FAST       64.46
                                                                                                                                                                                                                                                                                                                        AlbireoPharma        ALBO      20.77 0.3       CommsSystems JCS           2.34 -4.8
          with the other qualifications and requirements of the Terms of Sale, and (ii) such bidder has complied with the Pledged Entity's governing documents and the Senior Loan                                                                                    Ferguson            FERG      166.70
                                                                                                                                                                                                                                                                                                                        AlgomaSteel          ASTL       9.19 -5.3      ComSovereign      COMS     0.84 -10.0
          documents. To participate in the Auction, prospective bidders must confirm their ability to satisfy the Requirements in the manner described in the Terms of Sale,                                                                                          FirstlndRIty                   64.21
                                                                                                                                                                                                                                                                                                                        AlignmentHIthcr      ALHC      12.92 -1.1      ComSovereignWt COMSW       0.16 -21.1
                                                                                                                                                                                                                                                                      FirstEnergy                    40.41
          including, but not limited to a requirement to make a good-faith deposit against such bidder's payment of the purchase price. The Secured Party reserves the right to: (a)
          reject all bids determined by it in its good faith to be unqualified or unacceptable bids; (b) terminate the sale or to adjourn the sale to such other date, venue and/or time                                       THE                                    ForbionEuro
                                                                                                                                                                                                                                                                      FounderSPAC
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                                                                                                                                                                                                                                                                                                                                                                                                  4.08 -22.9
          as the Secured Party may deem proper, by announcement prior to the date of sale or at the place and on the date of sale (but prior to the start of the bidding at the sale),
          and any subsequent adjournment thereof, without further publication; and (c) impose any other commercially reasonable conditions upon the sale of the Pledged Collateral
          as the Secured Party may deem proper. The Secured Party further reserves the right to restrict prospective bidders to those who will represent that they are purchasing
                                                                                                                                                                                                      MARKETPLACE                                                     GeneralMills
                                                                                                                                                                                                                                                                      GladstoneLand LAND
                                                                                                                                                                                                                                                                                          GIS        66.17
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                                                                                                                                                                                                                                                                                                                                                                                         CRSR
                                                                                                                                                                                                                                                                                                                                                                                                  2.71 -2.1
                                                                                                                                                                                                                                                                                                                                                                                                  3.34 -6.4
                                                                                                                                                                                                                                                                                                                                                                                                 20.22 -3.0
          the Pledged Entity for their own accounts for investment and not with a view to the distribution or resale of such Pledged Entity, to verify that the certificate for the                                                                                   Graco               GGG        80.98
                                                                                                                                                                                                                                                                                                                        AlticeUSA            ATUS      14.33 -2.8      CoupaSoftware COUP       150.90 -1.0
          Pledged Entity to be sold bears a legend substantially to the effect that such interests have not been registered under the Securities Act, and may not be disposed of in                                                                                   GreenBrickPtrs GRBK            32.25
                                                                                                                                                                                                                                                                                                                        Amarin                          3.24 -2.4      Coursera          COUR    24.91 -0.4
          violation of the provisions of the Securities Act. The Secured Party reserves the right to credit bid all or any portion of its secured indebtedness then outstanding under                           ADVERTISE TODAY                                       GrowthforGood GFGDU            10.11
                                                                                                                                                                                                                                                                                                                        AmbowEduc
                                                                                                                                                                                                                                                                                                                                             AMRN
                                                                                                                                                                                                                                                                                                                                             AMBO       0.91 -14.6     CPI Aero          CVU      2.41 -5.5
          the Loan Agreement.                                                                                                                                                                                                                                         Hagerty            HGTY        19.97
                                                                                                                                                                                                                                                                                                                        Ampco-PittsWt        AP.WS      0.60 -7.7      CrescentEnergy CRGY       14.86 -6.7
     7. All bids (other than credit bids of the Secured Party) must be for cash and the successful bidder must be prepared to deliver immediately federal funds (1) for the Second                                                                                    HagertyWt          HGTY.WS         6.88
                                                                                                                                                                                                                                                                                                                        AmpioPharm           AMPE       0.65 -33.8     CullinanOncology CGEM     15.79 -4.1
                                                                                                                                                                                                                    (800)366-3975                                     HealthcareAlAcqn HAIAU         10.03
          Deposit (as defined in Terms of Sale) in accordance with the time period set forth in the Terms of Sale and (2) for the balance of the purchase price of the Collateral on the                                                                                                                                AnPacBioMed          ANPC       1.14 -1.7      Culp              CULP     9.66 -0.9
                                                                                                                                                                                                                                                                      Hershey            HSY        189.50
          closing date prescribed by the Terms of Sale and otherwise comply with the Requirements. The Successful Bidder shall be responsible for the payment of all transfer taxes,                           For more information visit:                                                                              AppliedDNA           APDN       4.52 -2.2      CuriosityStream CURI       6.14 -3.2
                                                                                                                                                                                                                                                                      DR Horton          DHI        110.45
          stamp duties and similar taxes incurred in connection with the purchase of the Pledged Collateral, if applicable.                                                                                                                                                                                             AppliedMolecular     AMTI      13.92 -1.3      DilaCapitalWt     DILAW    0.49 -3.8
     All inquiries should be made to: Cushman & Wakefield to the attention of Jessica Merritt at jessica.merritt(3cushwake.com; (212) 841-7651.
                                                                                                                                                                                                                 wsj.com/classifieds                                  JBHunt              JBHT      202.81
                                                                                                                                                                                                                                                                                                                        AptoseBiosci         APTO       1.87 -2.0      DIRTT Envl        DRTT     1.85 -5.1
                                                                                                                                                                                                                                                                      IDACORP             IDA       111.76
                                                                                                                                                                                                                                                                                                                        ArcutisBiotherap     ARQT      14.86 1.4       Datasea           DTSS     1.22 -9.6
                                                                                                                                                                                                                                                                      IHS Markit          INFO      135.01
                                                                                                                                                                                                                                                                                                                        Argan                AGX       36.81 -1.8      DecibelTherap     DBTX     5.52 -5.2
                                                                                                                                                                                                                                                                      IliinoisToolWks     ITW       244.74
                                                                                                                                                                                                                                                                                                                        ArgoBlockchain       ARBK      12.03 -7.1      DigitalMedia      DMS      4.05 -3.6
                                                                                                                                                                                                                                                                      Impinj              PI         89.90
                                                                                                                                                                                                                                                                                                                        ArgusCapitalWt       ARGUW      0.55 -6.7      DigitalMediaWt DMS.WS      0.30 -8.0
                                                                                                                                                                                                                                                                      IndIHumanCap        AXH         9.88
                                       BUSINESS OPPORTUNITIES                                                                                      PUBLIC NOTICES                                                                                                                                                       AriszAcqnRt          ARIZR      0.13 -25.7     Doma              DOMA     5.03 -4.9
                                                                                                                                                                                                                                                                      InfoAnalysis        IAIC        4.43
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                                                                                                                                                                                                                                                                                                                        ArtemisStrat         ARTEU      9.95 0.4       DriveShack        DS       1.43 -4.5
                                                                                                                                                                                                                                                                      IntegratedWellness WEL.U       10.10
                                                                                                                                                                                                                                                                                                                        AspenGroup           ASPU       2.62 -3.5      EQONEX            EQOS     2.70 -10.4
                                                                                                                                                                                                                                                                      IronMountain        IRM        49.75
                                                                                                                                                                                                                                                                                                                        Athenex                         1.46 -2.6      EastmanKodak KODK          5.18 -5.3
                                                                                                                                     Airborne Capital Limited Mandated to Sell Certain                                                                                JuniperNetworks JNPR           34.26                                   ATNX
                                                                                                                                                                                                                                                                                                                                                                       EigerBioPharma EIGR        5.37 -3.6

         BUYING BILLBOARDS                                                                                                           Rights and Claims
                                                                                                                                     Airborne Capital Limited (www.airbornecapital.aero)
                                                                                                                                     has been exclusively mandated to offer for sale certain
                                                                                                                                                                                                                                                                      JupiterWellness JWACU
                                                                                                                                                                                                                                                                      KeysightTechs
                                                                                                                                                                                                                                                                      Knight-Swift
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                                                                                                                                                                                                                                                                                                                        AvidXchange                    16.03 -2.7      EmeraldHIdg       EEX      3.62 -5.2
                                                                                                                                     rights and claims under, amongst other things, certain
                                  I'll buy your billboard.                                                                           head lease agreements with JLPS Leasing Draco Limited
                                                                                                                                                                                                                                                                      Lennar A
                                                                                                                                                                                                                                                                      LexingtonRealty LXP
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                                                                                                                                                                                                                                                                                                                                                                       EnsysceBioWt
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                                                                                                                                     (formerly DAE Leasing (Ireland) 12 Limited) and JLPS                                                                             LifeStorage         LSI       143.67
                                                                                                                                                                                                                                                                                                                                             BALY      35.42 -3.4      Epizyme           EPZM     2.66 7.2
                                                                                                                                                                                                                                                                      LightwaveLogic LWLG            20.00
                         Major Metro Areas only. $1                                                                                  Leasing Uranus Limited (formerly known as PAAL
                                                                                                                                     Uranus Company Limited) respectively, and certain lease
                                                                                                                                                                                                                                                                      Lionheartlll A
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                                                                                                                                     agreements with Vietnam Airlines JSC.                                                                                                                                                                             17.23 -0.8      ErosSTX           ESGC     0.23 10.0
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                          million - $5 million range.                                                                                These rights and claims are to be sold on an 'as is,                                                                             McDonalds
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                                                                                                                                                                                                                                                                      MeritageHomes MTH             125.01                                   BTTX
                                                                                                                                     where is' basis, and may be sold individually, via a sale                                                                                                                                                                         Exicure           XCUR     0.27 -40.7
                           Cash, close in 30 days.                                                                                   process that will be conducted in accordance with certain
                                                                                                                                                                                                                                                                      MidAmApt
                                                                                                                                                                                                                                                                      MotorolaSol
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                                                                                                                                                                                                                                                                                                                                                                                                 10.08 -5.9
                                                                                                                                     procedures beginning on 10 December 2021.                                                                                        NationalGrid        NGG        69.74                                   BYND      62.06 -1.7
                                                                                                                                                                                                                                                                                                                                                        6.75 -1.4      FaradayFuture     FFIE     4.78 -9.8
                                                                                                                                     For further information on the sale, expressions of                                                                              NatlStorage         NSA        65.54                                   BBAI
                                                                                                                                                                                                                                                                                                                                                       36.15 -3.4      Farfetch          FTCH    30.69 -6.8
                                                 Joe Vogel                                                                                                                                                                                                            Nelnet              NNI        96.74                                   BIGC
                                                                                                                                     interest, bid deadlines and procedures, please contact                                                                           NewcourtAcqnWt NCACW            0.70                                   BCDA       1.65 -8.8      FatProjectsAcqn FATP       9.70 -0.5
                                                                                                                                     Airborne Capital by emailing                                                                                                                                                                                                      FatProjectsAcqnWt FATPW    0.37 2.6
                                                                                                                                                                                                              © 2021 Dow Jones & Company, Inc.                        NextEraEnergy NEE              92.12                                   BDSI       2.50 -1.2

                                        859 468-5530  -
                                                                                                                                     remarketingfSairbornecapital.aero with "JLPS Claims" in
                                                                                                                                     the subject line.
                                                                                                                                                                                                                     All Rights Reserved.
                                                                                                                                                                                                                                                                      NextEraEnergyUn NEEpO
                                                                                                                                                                                                                                                                      NextEra6.219%Un NEEpQ
                                                                                                                                                                                                                                                                      NovoNordisk         NVO
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                                                                                                                                                                                                                                                                                                                                                                                    Continued on Page B9




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                                   EXHIBIT 6
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      quinn emanuel            trial lawyers | austin
      300 West 6th Street, Suite 2010, Austin, Texas 78701 | TEL (737) 667-6100   FAX   (737) 667-6110


                                                                                                           WRITER'S DIRECT D IAL N O .
                                                                                                                     (737) 667-6100

                                                                                                             WRITER'S EMAIL A DDRESS
                                                                                                     ashergriffin@quinnemanuel.com




SENT BY EMAIL TO: KYLE ORTIZ, ESQ. / AMANDA C. GLAUBACH, ESQ.
KORTIZ@TEAMTOGUT.COM, AGLAUBACH@TEAMTOGUT.COM
February 28, 2022
CONFIDENTIAL
VIA ELECTRONIC MAIL



Re:     MSN 173 / JPA No. 49 Co., Ltd. – Response to Request Pursuant to U.C.C. § 9–
        210(b);
        MSN 67 / JPA No. 111 Co., Ltd. – Response to Request Pursuant to U.C.C. § 9–
        210(b)

Dear All:

We are in receipt of your letters dated February 25, 2022 requesting “the estimated pay-off amount
for the Secured Obligations, including by providing an update of the amounts set forth on
Appendix 1 and Appendix 2 to the FitzWalter January 22 [sic] Letter.” One was sent on behalf of
JPA No. 111 Co., Ltd. (Borrower 111), and a virtually identical letter was sent on behalf of JPA
No. 49 Co., Ltd. (Borrower 49 and together with Borrower 111 the Borrowers).
Without waiving any rights, we provide the following. In doing so, we refer to:
        a.        the Facility Agreement dated 22 December 2017 between Crédit Agricole
                  Corporate and Investment Bank (CACIB), as Security Agent, Borrower 49, and the
                  financial institutions named therein as Senior Lenders (amongst others) in respect
                  of one Airbus A350–941 Aircraft with manufacturer’s serial number 173 (the
                  Aircraft 173), as amended, restated or supplemented from time to time (the
                  Facility Agreement 49);

        b.        the Facility Agreement dated 6 November 2018 between CACIB, as Security
                  Agent, Borrower 111, and the financial institutions named therein as Senior
                  Lenders (amongst others) in respect of one Airbus A350 –900 Aircraft with
                  manufacturer’s serial number 67 (the Aircraft 67 and together with Aircraft 173

      quinn emanuel urquhart & sullivan, llp
      ATLANTA | AUSTIN | BOSTON | BRUSSELS | CHICAGO | HAMBURG | HONG KONG | HOUSTON | LONDON | LOS ANGELES | MANNHEIM | MIAMI |
      MUNICH | NEUILLY-LA DEFENSE | NEW YORK | PARIS | PERTH | SALT LAKE CITY | SAN FRANCISCO | SEATTLE | SHANGHAI | SILICON VALLEY |
      STUTTGART | SYDNEY | TOKYO | WASHINGTON, DC | ZURICH
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               the Aircraft), as amended, restated or supplemented from time to time (the Facility
               Agreement 111 and together with Facility Agreement 49 the Facility
               Agreements);

      c.       the Junior Facility Agreement dated 22 December 2017 between the financial
               institutions named therein as Lenders, CACIB, as Security Agent, and Borrower 49
               (amongst others), as amended, restated or supplemented from time to time (the
               Junior Facility Agreement 49);

      d.       the Junior Facility Agreement dated 6 November 2018 between the financial
               institutions named therein as Lenders, CACIB, as Security Agent, and Borrower
               111 (amongst others), as amended, restated or supplemented from time to time (the
               Junior Facility Agreement 111 and together with Junior Facility Agreement 49
               the Junior Facility Agreements);

      e.       the Proceeds Agreement dated 22 December 2017 between the lenders, CACIB, as
               Security Agent, and Borrower 49 (amongst others), as amended, restated or
               supplemented from time to time (the Proceeds Agreement 49);


      f.       the Proceeds Agreement dated 6 November 2018 between the lenders, CACIB, as
               Security Agent, and Borrower 111 (amongst others), as amended, restated, or
               supplemented from time to time (the Proceeds Agreement 111 and together with
               Proceeds Agreement 49 the Proceeds Agreements);

      g.       the Aircraft Head Lease Agreement dated 29 December 2017 between Borrower
               49 as lessor and JLPS Leasing Uranus Limited (f/k/a PAAL Uranus Company
               Limited) (the Intermediate Lessor 173) as lessee in respect of the Aircraft 173, as
               amended, restated or supplemented from time to time (the Head Lease Agreement
               173);

      h.       the Aircraft Head Lease Agreement dated 19 November 2018 between Borrower
               111 as lessor and JLPS Leasing Draco Limited (f/k/a DAE Leasing (Ireland) 12
               Limited) (the Intermediate Lessor 67 and together with Intermediate Lessor 173
               the Intermediate Lessors) as lessee in respect of the Aircraft 67, as amended,
               restated or supplemented from time to time (the Head Lease Agreement 67 and
               together with Head Lease Agreement 173 the Head Lease Agreements);

      i.       the Borrower Parent Letter dated 6 November 2018 issued by JP Lease Products &
               Services Co., Ltd. (Borrower Parent), in respect of Borrower 111’s acquisition of
               Aircraft 067;




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       j.      the Borrower Parent Letter dated 22 December 2017 issued by Borrower Parent
               in respect of Borrower 49’s acquisition of Aircraft 173;

       k.      the Intermediate Lessor Parent Letter dated 6 November 2018 issued by JLPS
               Holding Ireland Limited (Intermediate Lessor Parent) in respect of Borrower
               111’s acquisition of Aircraft 067;

       l.      the Intermediate Lessor Parent Letter dated 22 December 2017 issued by
               Intermediate Lessor Parent in respect of Borrower 49’s acquisition of Aircraft 173;

       m.      the Resignation and Appointment Agreements dated 2 December 2021 made
               between FitzWalter and CACIB whereby CACIB resigned as Security Agent, and
               FitzWalter was appointed as Security Agent in respect of the financing of the
               Aircraft.

Unless otherwise defined herein or the context otherwise requires, capitalized terms and
expressions defined in the Proceeds Agreements (whether defined therein or by reference) have
the same meaning in this Letter.
In response to your request, we attach Appendix 1 and 2, representing the minimum amounts of
Secured Obligations currently known to us as of the date hereof.
To prepare Appendix 1 and 2, FitzWalter has relied upon the records and other information
supplied to it by others.
Amounts have been given to the date hereof (28 February 2022) and represent the minimum
amounts as currently known to FitzWalter. Additional amounts, including interest, professional
fees, and expenses, will continue to accrue. In addition, certain losses, including the liability to
pay damages, will only be quantifiable upon final adjudication and assessment. We expressly
reserve all our rights in relation to any and all amounts forming part of the Secured Obligations.
Until the full, final, and indefeasible payment and discharge of all Secured Obligations and the
re-assignment thereafter of the Assigned Property to the relevant Obligors and the release and
discharge of Security Interests in accordance with clause 7 of the Proceeds Agreements, the
Assigned Property is the property of the Security Agent and the rights in the Collateral are vested
in the Security Agent.
We hereby further expressly reserve all the rights, powers, and remedies whether arising under the
Facility Agreements, the Junior Facility Agreements, the Security Documents, the Transaction
Documents, applicable Law and/or however arising that we may have now and/or which may arise
subsequently.
Nothing in this Letter constitutes a waiver of any rights or remedies which we or any Financing
Party has or may have now or subsequently. Nothing in this Letter waives or varies any of the
terms of the Transaction Documents.


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This Letter is issued on behalf of FitzWalter Capital Partners (Financial Trading) Limited in its
capacity as Security Agent only.



Best regards,




Asher B. Griffin

AG:ED

Counsel to FitzWalter Capital
Partners (Financial Trading) Limited




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                                                                         Appendix 1 – MSN 67

    Claim Category                                                        Obligors (where relevant)    Quantum
    Senior Principal                                                                                   $87,870,569.00
    Senior Interest                                                                                    $0
    Senior Default Interest                                                                            $426,515.22
    Junior Principal                                                                                   $8,783,353.72
    Junior Interest                                                                                    $138,837.57
    Junior Default Interest                                                                            $174,541.26
    Swap/Break Costs                                                                                   $7,490,909.73
    Breach of Clause 3.1 and 3.2 (Non-Petitioning) and Clause             Borrower Parent              Unliquidated but will include damages and costs to be
    10.2.3(c) (Service Agreement and Lease Management                     Intermediate Lessor 67       assessed by the English and Japanese Courts. Claim
    Agreement) of the Proceeds Agreement 111 and the Borrower             Intermediate Lessor Parent   form from English Case was submitted on 20th
    Parent Letter and Intermediate Lessor Parent Letter                                                January 2022.
    Breach of Clause 11.3.23 (Anti-Social Forces) of the ProceedsBorrower 111                          Unliquidated but will include damages and costs to be
    Agreement 111, and the Borrower Parent Letter and Intermediate
                                                                 Borrower Parent                       assessed by the English Court. Claim form from
    Lessor Parent Letter                                         Intermediate Lessor 67                English Case was submitted on 20th January 2022.
                                                                 Intermediate Lessor Parent
    Unpaid rent under the Head Lease Agreement 67                Intermediate Lessor 67                $10,429,865.50
    Breach of Clause 3.6 of the Head Lease Agreement 67 (in Intermediate Lessor 67                     Unliquidated but includes accrued amounts to date of
    conjunction with Clause 11.2 of the Proceeds Agreement 111)                                        $959,291.91
    Legal and other professional costs of the Security Agent and Borrower 111                          $1,719,928.64
    Lenders1                                                     Borrower Parent                       £410,682.68
                                                                                                       €39,141.98
    Costs of the Security Agent in insuring the Aircraft                  Borrower 111                 $37,510.50
    Costs of the Security Agent in engaging Airborne Capital as           Borrower 111                 $203,151.15
    remarketing agent
    Management time of the Security Agent                                 Borrower 111                 $2,045,000
    Costs arising out of the Parent failing to perform its undertaking    Borrower 111                 $164,138.92
    under the Borrower Parent Letter                                      Borrower Parent



1 This is an approximated estimate of the professional fees known to FitzWalter as of the date of this letter. This figure is not exhaustive of the
professional fees accrued to date. Additional fees have and will continue to accrue.


                                                        1
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                                                                     Appendix 2 – MSN 173


    Claim Category                                                  Obligors (where relevant)        Quantum
    Senior Principal                                                                                 $88,190,424.10
    Senior Interest                                                                                  $0
    Senior Default Interest                                                                          $408,284.33
    Junior Principal                                                                                 $6,703,490.55
    Junior Interest                                                                                  $111,991.39
    Junior Default Interest                                                                          $124,323.60
    Swap/Break Costs                                                                                 $4,844,043.98
    Breach of Clause 3.1 and 3.2 (Non-Petitioning) and Clause       Borrower Parent                  Unliquidated but will include damages and costs to be
    10.2.3(c) (Service Agreement and Lease Management               Intermediate Lessor 173          assessed by the English and Japanese Courts. Claim
    Agreement) of the Proceeds Agreement 49 and the Borrower        Intermediate Lessor Parent       form from English Case was submitted on 20th
    Parent Letter and Intermediate Lessor Parent Letter                                              January 2022.
    Breach of Clause 11.3.23 (Anti-Social Forces) of the ProceedsBorrower 49                         Unliquidated but will include damages and costs to be
    Agreement, and the Borrower Parent Letter and Intermediate   Borrower Parent                     assessed by the English Court. Claim form from
    Lessor Parent Letter                                         Intermediate Lessor 173             English Case was submitted on 20th January 2022.
                                                                 Intermediate Lessor Parent
    Unpaid rent under the Head Lease Agreement 173               Intermediate Lessor 173             $10,695,530.92
    Breach of Clause 3.6 of the Head Lease Agreement 173 (in Intermediate Lessor 173                 Unliquidated but includes accrued amounts to date of
    conjunction with Clause 11.2 of the Proceeds Agreement 49)                                       $882,856.51
    Legal and other professional costs of the Security Agent and Borrower 49                         $1,719,928.63
    Lenders2                                                     Borrower Parent                     £410,682.67
                                                                                                     €39,141.99
    Costs of the Security Agent in insuring the Aircraft            Borrower 49                      $37,510.50
    Costs of the Security Agent in engaging Airborne Capital as     Borrower 49                      $203,151.15
    remarketing agent
    Management time of the Security Agent                           Borrower 49                      $2,045,000
    Costs arising out of the Parent failing to perform its          Borrower 49                      $154,138.92
    undertaking under the Borrower Parent Letter                    Borrower Parent


2 This is an approximated estimate of the professional fees known to FitzWalter as of the date of this letter. This figure is not exhaustive of the
professional fees accrued to date. Additional fees have and will continue to accrue.


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